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Exhibit [V.5

 
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LLC

 

Memorandum on Indenture
Planning and Special Allowance
Management

 

Prepared for Student Loan Finance Corporation
August 5, 2003

 

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Section! Executive Summary

Overview

All financial organizations seek to manage assets and liabilities to maximize
efficiency and net retum. Matching the characteristics of the asset—whether they be
fixed or variable rate, callable or non-callable, long-term or short-term—to the
characteristics of the liability financing that asset is a necessary and prudent function
of financial management. In the case of a former 150(d) student loan finance
corporation, asset-liability management also entails matching Federal Family
Education Loan Program (“FFELP”) loan assets optimally to both tax-exempt and
taxable sources of funds. Many factors impact how and whether loans can be
matched to tax-exempt or taxable borrowings including tax and FFELP legal and
regulatory considerations.

In this memorandum, we will address how Student Loan Finance Corporation
(“SLFC") can manage its tax-exempt financing and the related student loans in the
context of those regulations promulgated by the U.S. Department of Education (“ED”)
that govern how holders of student loan assets made or acquired with tax-exempt
sources of funds may bill for special allowance.' We will relate and examine the
history of ED's shifting policy toward SAP billing for loans that are made or acquired
with tax-exempt debt and later refinanced with taxable debt. Based on the
parameters of SLFC’s tax-exempt indenture and ED's current policy on special
allowance billing, we will propose a strategy to optimize SLFC’s use of its tax-exempt
sources of financing, 7 discuss methods to implement the strategy in compliance with
pertinent ED regulations, and estimate the potential savings to SLFC therefrom.

U.S. Department of Education Policy for Special Allowance under 302(e

Since 1980, the levels of subsidies or Special Allowance Payments (SAP) provided
by ED to holders of FFELP loans funded with tax-exempt funding sources have
differed from those provided to holders of student loans funded with taxable sources.
Holders of loans made or acquired with tax-exempt debt are entitled to receive SAP
equal to one-half of the SAP that would be paid had the loans been financed with
taxable sources, but with a floor to ensure that a loan financed with tax-exempt debt
yields at least 9.5%. The rationale for the different SAP levels came from the
perception that since issuers of tax-exempt debt have a lower cost of funds to finance
their loan portfolios, they should receive less subsidy or special allowance from the
government. In 1993, however, Congress enacted a legislative change that

 

* Aurora Consutting, LLC is nota law fim and Is not offering legal advice to SLFC on any matters. To the extent,
any legal issues are raised or implicated by the information provided in this memorandum, SLFC should seek
. advice from its legal advisors.
) 2 The strategy outlined in this memorandum applies only to tax-exempt debt originally Issued prior to October 1,
77 1993.

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eliminated this SAP differential, but only with respect to student loans made or
acquired with tax-exempt bonds originally issued after October 1, 1993 (the effective
date of the legislation). The result was that loans funded with tax-exempt sources
originally issued prior to the effective date continue to be eligible for the haif-
SAP/9.5% floor SAP rate for as long as those tax-exempt obligations remain
outstanding.

Under the initial implementing regulations for the tax-exempt SAP billing rates
promulgated in 1985 (34 CFR §682.302(e) (“Section 302(e)")), the applicable special
allowance billing rate for a FFELP loan was ‘determined based on the current funding
source for that foan. If a loan was made or acquired with a tax-exempt financing
source, the tax-exempt rules (half SAP/9.5% floor) applied. If the same loan was
subsequently refinanced with taxable sources of financing, the taxable financing SAP
rules applied. In 1992, however, ED revised Section 302(e) so that the half-
SAP/9.5% floor provision would cover loans that had been made or acquired with
tax-exempt sources, but had later been refinanced with taxable sources.

At the time it made this change in historical policy for Section 302(e), the Department
intended to reduce the amount of SAP being paid to issuers who had refinanced their
loans with taxable sources. Because of the high interest rate environment at the time
the new policy was developed, the proposed policy change would in fact have
resulted in lower SAP being paid on loans that had been originally financed with tax-
exempt sources and then refinanced with taxable sources. In a low interest rate
environment, however, the application of the half-SAP/9.5% floor formula on loans
refinanced with taxable sources benefits the loan holder, who by billing for SAP at the
floor rate (as the regulation requires) can substantially enhance yield. While it may
be difficult to believe that ED would intentionally create a situation that could so
greatly penalize or benefit a holder depending on the interest rate environment at the
time, a careful review of the history of Section 302(e) and ED's communications with

- the FFELP industry reveals that the 302(e) policy change was intentional and that ED
was aware of the effects its policies would have on holders of FFELP loans. A
chronological account of the history of Section 302(e) and supporting documentation
is provided in Section II of this memorandum.

Strategy for Increased Yield under Indenture

SLFC’s existing financing indenture provided approximately $48 million in tax-exempt
funding to make or acquire approximately $48 million in FFELP loans? if SLFC
transferred this $48 million in loans to one of its taxable sources of funding, under
Section 302(e), SLFC would be required to continue to report and bill SAP for these
loans under the half-SAP/9.5% floor formula until the tax-exempt obligations have
been retired or defeased, or SLFC no longer retains an interest in the loans.
Following this “sale” of loans from the tax-exempt to the taxable funding source,
SLFC would utilize the proceeds to acquire (or originate) new loans into the tax-

 

) * itis our understanding that of SLFC’s existing tax-exempt financing, approximately $48 million is funding that was
“ originally Issued prior to October 1, 1893.

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exempt financing and would bill SAP for those loans as required by 302(e) according
to the half-SAP/9.5% floor formula. The result of these transfers would be an
increase of 100% in the amount of student loans for which SLFC would be entitled,
and indeed required, to bill at the half-SAP/9.5% SAP rate.‘

The types of transfers described above are representative of asset-liability
management strategies that have been in use by other FFELP loan holders for
several years. These lenders have active programs to refinance loans pledged to
their tax-exempt financings with taxable financing in an effort to “bank” earings from
increased SAP as an offset to past and future yield limitations in a high interest rate
environment. The clarity of Section 302(e) language itself, consistent regulatory
interpretative guidance and the adaption of billing forms to accommodate the revised
regulatory language provide ample support for the increased SAP billing received as
a result of these strategies.

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4 To the extent these transfers involve loans outside the indenture, they will be subject to the parameters of SLFC's
me indenture. For example, in order to transfer loans out of the indenture, certain valuations of the assets must be
} performed, as more fully discussed in Section Ill below. In addition, loans transferred into the indenture must meet
~f the ixtenture's eligibility definitions,

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682.302(e) of the Student
Loan Regulations

 

Section 682.302(e) of Title 34 of the Code of Federal Regulations sets forth ED’s
policy with respect to the special allowance treatment of loans made or acquired with
tax-exempt sources originally issued before October 1, 1993—that is, loans eligible
to receive SAP at the half-SAP/9.5% floor rate—that are later refinanced with taxable
sources of financing. The following is a chronology of the changes made to this
section, the Department of Education's policy on SAP billing for loans financed with
tax-exempt debt and the FFEL community's communications with ED about Section
302(e).

December 16, 1980

 

ED issued Bulletin G-44, R-108, which provided guidance for the then-new haif-
SAP/9.5% floor Higher Education Act provisions enacted in the Education
Amendments of 1980 (See Attachment 1—U.S. Department of Education Bulletin
#G-44, R-108, p.4). The guidance clarified that the reduced rate of special allowance
and the 9.5% floor “did not apply to any loan .. . which is purchased with funds not
exempt from Federal income tax, even if it was originally made or purchased by a
lender from the proceeds of obligations exempt from Federal income tax.” This
guidance marked the beginning of the Department's historical policy on tax-exempt
SAP provisions.

February 8, 1985

Final regulations governing Special Allowance Payments on Loans Made or
Purchased with Proceeds of Tax-Exempt Obligations were issued in the Federal
Register®. These regulations included for the first time the Plan For Doing Business
requirements for tax-exempt issuers and further clarified the policy that the applicable
SAP rate for a loan financed at one time from a tax-exempt source was the then-
current financing source. The preamble to the regulations states “any sanctions or
limitations imposed under this Subpart on loans financed by those tax-exempt
obligations apply only so long as the loans remain financed by tax-exempt debt. See
§§ 682.823; 682.302(e). Therefore, any party which uses funds derived from sources
other than tax-exempt obligations to acquire loans from an Authority, or, if an
Authority, to refinance those loans, takes or holds those loans free of any sanctions

 

7 * Federal Register 50, no. 27 (6 February 1885): 5506 et seq., 34 CFR §§682.800-830

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previously imposed on the Authority.© The preamble further stated “these

“i regulations tie the rate of SAP to the source of funds used to acquire or maintain the
Authority's interest in a loan.” See Attachment 2—Final regulations governing Special
Allowance Payments on Loans Made or Purchased with Proceeds of Tax-Exempt
Obligations, p. 5512)

November 1990

ED issued a Notice of Proposed Rulemaking notifying the student loan community of
regulations proposed to implement the 1986 Amendments to the Higher Education
Act. See Attachment 3—Notice of Proposed Rulemaking (Federal Register 55,
no.224 (20 November 1990):48353 et seq.). In that NPRM, ED changed the
provisions of section 682.302(e). Under the proposed rule, if a loan was made or
acquired with the proceeds of tax-exempt debt and was later refinanced with taxable
debt, the tax-exempt special allowance provisions continue fo apply, as long as the
issuer retains an interest in the loan and the tax-exempt obligation has not been
retired or defeased.’ The preamble to the NPRM did not address the Department's
policy change or the rationale for the change. The membership organizations like
NCHELP did not respond to this change; however, some individual tax-exempt
secondary markets did provide comment on the change.

February 14, 1992

The Department of Education provided the loan community with copies of the
“second round clearance draft’ of the regulations that were being developed in
response to the November 1990 NPRM. NCHELP Program Regulations Committee
members addressed the changes being made to section 682.302(e) on page 16 of
their response document. See Affachment 4—Excerpt from the NCHELP Program
Regulations Committee’s Analysis of Second Clearance Draft of the November 20,
1990 Notice of Proposed Rulemaking. The NCHELP response focused on the halif-
SAP provisions, arguing that under the Higher Education Act provisions, it was
permissible to receive fullSAPs on loans that had been originally funded with tax-
exempt sources and subsequently refinanced with taxable financing. ED did not
change the regulation in response to this comment and did not address NCHELP’s
comment in the preamble to the final rule.®

 

* This preamble language was added to address concems from Insitutions that were providing credit
enhancement or liquidity support for tax-exempt studlent loan bond financings and the language provided
assurance that if they were required fo foreclose on the loan portfolio, the loans would qualify for special allowance
payments at the taxable SAP rates,
7 The 1986 Amendments to the Higher Education Act included no changes that would have prompted this
regulatory change. The change was inilated by ED.

7 * itis important to note that, at the time the NPRM was Issued, the Interest rate was such that the foan yields were

} higher than the 9.6% floor, so the loans were subject to the half-SAP provisions and the 9.5% floor was not

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January 1993

As an industry negotiator for the Negotiated Rulemaking process, Sheila Ryan wrote
to Robert Evans to address a number of technical issues of importance to issuers of
tax-exempt debt. In that letter, Ms. Ryan conveyed the industry's concems with ED's
interpretation of Section 302(e) and suggested that the proposed regulation be
amended to clarify that the half-SAP/9.5% floor provisions apply only to loans
pledged to a tax-exempt indenture. See Attachment 5—February 16, 1993 Letter to
Robert Evans from Sheila Ryan.

February 1993

When the final regulations were promulgated in December 1992, Secretary Riley
issued a letter indicating that the regulations would be subject to a delayed
enforcement, until such time clarifying guidance could be issued. To support the
Department's efforts to develop such guidance, the community was invited to provide
a listing of issues and/or concerns with the regulations. NCHELP prepared a
document outlining concems with the final regulations which was provided to ED in
February 1993. See Affachment 6—Excerpt from NCHELP Comments on
December 1992 Final Regulations. Under section 682.302(e), the community stated
that the final rule issued by ED would result in loans being subject to the haif-
SAP/9.5% floor provisions on a permanent basis. Meetings were held by the
Department with the higher education community in March and April of 1993 to
review the concems raised by the community. ° At the beginning of the March
meeting, ED handed out a response to the various comment papers submitted to the
Department. In the handouts, ED confirmed that NCHELP’s understanding of ED’s
policy change (once half-SAP/9.5%floor, always half-SAP/9.5%floor) was correct and
“remains the Department’s position on this issue.” See Atlachment 7—ED Response
to Loan Community Comments on Final Regulations, March 1993.

February 16, 1993

As part of the negotiated-rulemaking process of 1993 (for development of regulations
to implement the 1992 Higher Education Act Amendments), several tax-exempt
special allowance provisions required regulatory clarification. As the FFELP expert
on SAP and tax-exempt issues, Sheila Ryan from Nellie Mae was charged with
addressing these outstanding matters. Since the tax-exempt issues were technical
and many of the negotiators did not have an interest in the topic, the topics were
discussed privately with Brian Siegal of the Department's General Counsel's office
(at the request of the Department's negotiator, Mr. Robert Evans).

While section 682.302(e) was not impacted by the 1992 Amendments, Ms. Ryan on
behalf of the FFELP negotiators sought to re-open the discussion on this matter as
part of the 1993 Negotiated Rulemaking process. Following the discussion with Mr.

 

, j * The notes in the margin on Attachment 6 are Shella Ryan's notes recorded during the March/April meetings,

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Siegal, Ms. Ryan prepared a summary of the issues discussed with Mr. Siegal and
distributed that summary to the parties in attendance at Negotiated Rulemaking who
were tracking tax-exempt matters. See Attachment 8-Memorandum from Sheila
Ryan to Certain Negotiated-Rulemaking Participants. The memo notes that Mr.
Siegal understood the current ED policy was not in the Department's best interest in
all interest rate environments and that ED would consider changing the policy to tie
tax-exempt special allowance billings to loans pledged in consideration of funds that
are tax-exempt. No regulatory changes were included, however, in the final rule
developed by the negotiators or any subsequent regulatory package.

March/April 1993 _

Meetings between ED and the FFEL community were held in March and April of
1993 to review regulatory changes and assist ED in issuing clarifying guidance on
the December 1992 regulations. During the April 1993 meeting, ED clarified that
their intent was to change the historical policy and to require that the “2 SAP and floor
provisions apply even if the current funding source is taxable. Since it was clear in
these discussions that the FFEL community would not be successful in convincing
ED to return to its original 302(e) policy, the loan community refocused its efforts

toward encouraging ED to issue guidance on the relevant ED Form 799 changes and
seeking clarification on the effective date. By letter dated April 16, 1993, Ms. Ryan
wrote to Robert Evans communicating the FFEL community's request for additional
Clarification regarding 799 billing in light of ED’s 302(e) policy. See Attachment 9—

} Letter dated April 16, 1993 from Sheila Ryan to Robert Evans.

May through July, 1993

Mr. Evans responded to Ms. Ryan acknowledging receipt of the April 16, 1993 letter
and indicated that the concerns would be addressed in an upcoming Dear Colleague
Letter. Ms. Ryan sent reminder letters to Mr. Evans and Mr. Evans responded again
that a Dear Colleague letter would address the 799 billing issues. See Affachment
10-—Correspondence between Sheila Ryan and Robert Evans.

January 19, 1994

After Congress repealed the unique SAP provisions as part of the Omnibus
Reconciliation Act of 1993 such that loans originated or acquired with tax-exempt
sources issued on or after October 1, 1993 are entitled to receive special allowance
at the full SAP taxable rates, Ms. Ryan wrote to ED to address again the ED Form
799 changes. At the time, the FFEL community was discussing whether new tax-
exempt codes would be necessary to track loans funded with new tax-exempt money
originally issued on or after October 1, 1993. This letter once again reviewed the
December 1992 regulations and the Department's change in its historical policy. See
Attachment 11—Letter dated January 19, 1994 from Sheila Ryan to Pamela Moran.

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March 1996

ED issued guidance in the form of Dear Colleague Letter 96-L-186, 96-G-287. The
letter, in question and answer format addressed the changes made to section
682.302(e) in the December 1992 regulations. In Question and Answer No. 30, ED
offers two important points of clarification. First, ED clearly articulates that the final
December 1992 regulations represented a change in its historical policy. Second,
ED clearly articulates its revised policy that "if a loan made or acquired with the
proceeds of a tax-exempt obligation is refinanced with the proceeds of a taxable
obligation, the loan remains subject to the tax-exempt special allowance provisions if
the authority retains legal interest in the loan.” See Affachment 12—U.S. Department
of Education Dear Colleague Letter 96-L-186, 96-G-287, March 1996.

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Overview

The majority of SLFC’s FFELP Loans are financed under an Indenture of Trust dated
as of February 1, 1998 (the “Indenture’), by and between Education Loans
Incorporated, a wholly-owned subsidiary of SLFC (“ELI") and First Bank National
Association, as trustee. Under this Indenture, EL! issued its $923,470,000 Student
Loan Asset-Backed Callable Notes, Series 1998-1 (the “1998 Notes”). SLFC has
advised us that proceeds of the 1998 Notes were used to refund approximately $48
million of tax-exempt bonds originally issued prior to October 1, 1993. The strategy
recommended in this memorandum relates to the $48 million of FFELP Loans that
have been made or acquired with this $48 million of refunding debt, which we refer to
herein as the “Refunding Notes.”

As discussed in the Executive Summary above, in order to increase the yield on the
student loans financed by the Refunding Notes, SLFC can adopt a strategy similar to
those employed by other tax-exempt issuers participating in the FFELP program. To

j do so, SLFC would implement a program to refinance the loans that have been
made or acquired with proceeds of the Refunding Notes (the “Floor Loans”) with
other available taxable funds. At the time of the refinancing, the Floor Loans would
be transferred to their new taxable funding source and the proceeds of the Refunding
Notes made available by this refinancing would then be used to acquire or originate
new FFEL loans. Under this program, both the Floor Loans and the additional loans
acquired with the Refunding Bonds would be eligible to receive, and ELI would be
required to bill for, SAP at the half-SAP/9.5% floor rate for as long as the Refunding
Notes are not retired or defeased and ELI retains an interest in those loans. This
refinancing strategy could be used one time or periodically depending on SLFC’s
goals for increased yield.

Refinancing Floor Loans in Accordance with the Indenture

In implementing a program to refinance loans currently financed by the Refunding
Notes, SLFC will need to determine what source of funds it will use to effect the
refinancing and what loans it will use for the refinancing. The refinancing can occur
using proceeds of the taxable 1998 Notes or proceeds of other taxable bonds, notes,
commercial paper or lines of credit that SLFC may have."° To the extent that SLFC

 

*° Because Section 302(e) expressly addresses the situation in which a loan made or acquired with proceeds of a
tax-exempt bond originally issued before October 1, 1993 is refinanced with taxable sources, and does not
address the situation in which the refinancing takes place with tax-exempt debt issued on or after October 1, 1993
is used to refinance Floor Loans, we are limiting the proposed refinancing stategy to SLFC's taxable sources of
financing.

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chooses to refinance the Floor Loans with proceeds of taxable 1998 Notes, it would
transfer the Floor Loans to the taxable 1998 Notes on the books of ELI. The freed
proceeds of the Refunding Notes would then be used to make or acquire new loans

that would then become Floor Loans. The new Floor Loans will need to meet the
Indenture’s eligibility requirements as well as applicable tax “nexus” requirements.

While we believe that the exchange of Floor loans for loans of equal aggregate value
should satisfy tax issues relating to arbitrage and yield on the Refunding Notes, these_
matters should be examined and confirmed _by SLFC's tax advisors. In the event

SLFC decides to implement the refinancing strategy with sources of funds outside

the Indenture, it may need to transfer Floor Loans, currently pledged to the Trustee

under the Indenture to the new source of funding outside the Indenture. The
indenture’s provisions govem whether and how financed loans can be released from

the lien of the Indenture." In general, Section 1.4(b) of the Indenture sets forth the
requirements for any releases of pledged property from the lien of the Indenture.

\ This section provides that prior to the deposit of any property with the Trustee that is
ia 43 to be the basis for the release of collateral under the Indenture (e.g. new loans in
fy exchange for Floor Loans), EL! must provide the Trustee with a certificate certifying

the fair value of the property being so deposited. If the property being deposited
i :

| \ pute ether with the value of other pro sited in the ft
~ af T0% or more of the outstanding principal amount of the Notes, the Indenture

ere

Wee an independent appraisal of the value of the ing: ited. The

same valuations are required for the pen in this case, the Floor Loans, being
f released from the lien of In addition to the fair value certifications,

 

the Indenture requires opinions of counsel to the effect that a_first_priority security
interest Is created in the loans being deposited to the Indenture and confirmations
from all rating agencies then rating the 1998 Notes that the fransfers will not have an
adverse affect on the then-current ratings of the 1998 Notes.

 

In a program to refinance Floor Loans in accordance with the Indenture, SLFC would
first identify the loans financed with the Refunding Notes. Based on the aggregate
value of the Floor Loans to be transferred out of the Indenture, SLFC would select
loans with substantially equal aggregate value to be substituted into the Indenture.
Presumably, if the loans being substituted for the Floor Loans have substantially
equal aggregate values, the Trustee's concem about impairment of security under
the Indenture will be substantially addressed.

 

 

** Whether transfers occur from outside or within the Indenture, SLFC should consult its tax counsel to detennine
whether substitution of loans raises any tax implications, including nexus Issues, that must be considered.
*? The Indenture provides that the independent appraisal is not needed if the value of the property is less than
$25,000 or lass than 1% of the then-outstanding principal balance of the 1998 Notes. Other exceptions to the
Indenture's requirements for certification of fair value include sales or dispositions of Student Loans "as and to the
extent permitted or required by this Indenture or the Servicing Agreement.” Examples of sales or dispositions of
Student Loans that are permitted or required by the Indenture would include: a sale of a Financed Loan to
purchase Into the Indenture a seital loan: a sale of a Financed Loan that has defaulted and Is being replaced with a
"good" loan; the sale of financed loans from the Surplus Account fo remedy deficiencies in certain other funds and
. accounts of the Indenture. We are assuming that none of these exceptions would entirely cover the transfers of
: j financad loans that are being proposed In this memorandum, and that, therefore, the valuation certifications will be

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SectionIV Loan Selection Strategy

 

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Based on ED’s current interpretation of Section 302(e) as described above in this
memorandum, Section 302(e) effectively fixes the retum characteristics of loans
made or acquired with tax-exempt financing originally issued prior to October 1,
1993. By focusing on the increase in yield which can be eamed on loans that are
transferred from the qualifying tax-exempt financing to taxable financings, SLFC can
develop an effective assetfliability management strategy.

The table below provides examples of the income benefit that can be derived by
moving different types of loans from a pre-10/1/93 tax-exempt financing (such as the
Refunding Notes) to a taxable financing and billing for SAP on those loans according
to the Section 302(e) requirements. The rates used below are based on those in
effect from July 1, 2003— June 30, 2004 and assume a 1.12% T-Bill rate. (See Table
A—Table of 2003-04 Interest Rates on FFELP Loans)

 

 

 

 

 

 

Variable Rate Annual Income | Annual Income Increased Annual | Increased
Loan Attributes | $1,000,000 on $1,000,000 Income on Annual income
Loans financed $1,000,000 on $48,000,000
Financed Pre10/1/93 Tax
Taxable Exempt
2.82% coupon | 28,200 95,000 66,800 3,206,400
1.7% SAP
3.42% coupon | 34,200 95,000 60,800 2,918,400
2.3% SAP
3.62% coupon | 36,200 95,000 58,800 2,822,400
2.5% SAP
4,22% coupon | 42,200 95,000 52,800 2,534,400
3.1% SAP
4.37% coupon | 43,700 95,000 51,300 2,462,400
3.25% SAP

 

 

 

 

 

 

 

As the table illustrates, the effect of applying the half-SAP/9.5% floor rates (i) to the
Floor Loans moved to taxable financings and (ii) to the “new” Floor Loans made or
acquired with the freed-up proceeds of the Refunding Notes may be to double or

tes. Given today’s extremely low interest environment, the gains noted
bove are substantial. While these gains would be reduced if T-Bill rates increase,

even triple income with respect to those loans. ‘° The largest benefit will be gained
by acquiring the lowest cou west SAP rate Todns with the of the
Ing

 

. *3 Of course, during a high interest rate environment, when the half-Sap rate comes Into effect, SLFC will need to
} implement a strategy to transfer ownership of the Floor Loans in order to recapture the ability to receive full SAPs
on these taxably financed loans.

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rates would have to increase substantially (more than 5%) for a taxable yield to
approach the 9.5% floor associated with loans funded by the Refunding Note
financing. In fact, since April of 1992, a loan with a 3.25% SAP rate, financed by a
taxable debt would never have eamed more than 9.5% and would have averaged a
yield of 7.48% based on the quarterly T-Bill auctions See Table B-—Table of historic
91 Day Bond Equivalent Quarterly Average T-Bill Rates.

in addition to the substantial increase in income that would be achieved by moving
: D more and lower coupon loans into the Refunding Note financing, this type of transfer
: M 4.4 has the benefit of reducing the loan yield for arbitrage purposes since these
BE 6) . mputations ignore the effect of special allowance payments. From an arbitrage
i '

qa perspective, the goal of these transfers would be to maintain the lowest coupon debt
: J 4 in the tax-exempt transactions after all other transactions have been completed.
: a Even in the case where a market value in excess of par is ascribed to a portfolio
is financed by a tax-exempt debt, it may be beneficial to move these loans out of a tax-

exempt debt to a taxable one. While premiums and discounts paid on portfolios are
included in arbitrage calculations, such amounts are a one time item and may be
more than offset if the newly purchased loans have a substantially lower coupon rate.

hen loans are acquired with the Refunding Note financing, the SAP codes on these
h loans must reflect the appropriate tax-exempt SAP codes on the servicing system.
; Ly As the Floor Loans are transferred to other taxable financings, the servicer must
af retain the tax-exempt SAP codes for these loans until the tax-exempt debt has been
: retired or defeased or until SLFC no longer has an interest.inthe loan. The 799 and
servicer systems should be scrutinized to insure that this tracking is in place.

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. U.S. DEPARTMENT OF EDUCATION
OFFICE OF POSTSECONDARY EDUCATION

WASHINGTON, D.C. 20202

 

December 16, 1980
OFFICE OF STUDENT

FINANCIAL ASSISTANCE Bulletin #G-44
: R~108

To ALL Guarantee Agencies
Effects of the
Education Amendments of 1980

On October 3, 1980, President Carter signed the Education Amendments of 1980

(PL. 96-374). The amendments made significant changes to the Guaranteed
Student Loan Program, some of which require immediate attention by the
guarantee agencies.

LOAN MAXIMUMS
: The term "undergraduate student" has been expanded to provide for "dependent

undergraduate" and “independent undergraduate" students. The new loan meximums
for these categories and jor graduate students are as follows:

Annual loan . Cumulative joan
naxinunm maximum
: Dependent undergraduate $2,500 $12, 500
Independent undergraduate | -$3,000 © $15,000
| _ Graduate or Professiona]) | $5,000 — $25, 000

The new maximums apply to any loan disbursed on or after January 1, 1981.
However, the loan may cover costs for periods of instruction which began prior
to that date. As always, no loan may exceed the estimated cost of education
minus estimated financial assistance.

In an October "Dear Colleague" letter to all participating schools, we have in-
structed the school to make a determination of the dependent/indepenéent status

ot any undergraduate student who applies for a lean in excess of $2,500 for the
current academic year. A copy of that letter has been sent to each guarantee
agency. If the student is determined to be independent, the school was instructed
to indicate the word "INDEPENDENT" in a conspicuous place in the school.portion

on the application. This procedure will be followed until the new common applica-
tion forms are in use. Of course, in subsequent years, the same determination
‘will also be required for any undergraduate student seeking a loan which will
cause the total of loans outstanding to exceed $12,500. .

 

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SPECIAL ALLOWANCE

The special allowance provisions have been revised to reflect the changes
in the interest rate structure. The special allowance rate for loans on
which the applicable interest rate is 7 percent or less will be computed by
determining the average bond equivalent rate of the ninety-one day Treasury
bills auctioned during the quarter, subtracting 3.5 percent, rounding the
resultant figure upward to the nearest one-eighth of one percent and dividing
the result by four. The special allowance rate for loans on which the
applicable interest rate is & percent is computed as above except that 4.5
percent is subtracted from the Treasury bill average. For loans on which
the applicable interest rate is 9 percent, 5.5 percent is subtracted from
the Treasury bill average.

Although there is nothing to prohibit a lender trom charging an interest rate
of less than the applicable rate, the special allowance for those loans will be
computed as though the interest were charged at the applicable rate.

The special allowance rate for loans made on or after October 1, 1980, frou

the proceeds of obligations exempt from Federa] income tax, will be computed

at one-half the quarterly rate of special allowance established above. However,
the rate paid to holders of such loans shall not be jess than 2.5 percent in the
case of joans for which the applicable interest rate is 7 percent; 1.5 percent

in the case of: loans for which the applicable interest rate is 8 percent; and

0.5 percent in the case of loans for which the applicabie interest rate is 9
percent. ‘The reduced special allowance does not apply to any loan which was made
prior to October 1, 1980, or to any loan made after October 1, 1980, which is pur-
chased with funds not exempt from Federal income tax, even if it was originally
made or purchased by a lender from the proceeds of obligations exempt from Federal
income tax. In the case of loans purchased with funds obtained from the

proceeds of obligations exempt from Federal income tax, the new special allowance
rate applies only to loans made on or after October 1, 1980, regardless of

the date purchased. :

BILLING INSTRUCTIONS FOR INTEREST AND SPECIAL ALLOWANCE

The preceding discussion identifies those loans which are subject to the new
interest and special allowance provisions. However, it is important to emphasize
that the special allowance provisions do not take effect until January 1, 1981.
Therefore, the first billing aftected by the new special allowance provisions is
for the quarter ending March 31, 1981. The following examples are intended to
clarify this point:

1. <A jJender disburses a 9 percent loan prior to December 31, 1980, because it
is made to a first time borrower for a period of instruction beginning —
on or after January 1, 1981. On the December 3i, 1980, billing, the
lender reports. the 9 percent loan on line A3 on 4 supplemental OE form 1166,
"Lenders s Request for Payment of Interest on Student Loans." However, for

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special allowance purposes the 9 percent Joan will be included in line Xl

of the regular billing form together with all other outstanding GSL loans.
The effect is that, for this one quarter only, the lender will receive a
greater yield on 9 percent loans (by 2 percentage points) than that received
for 7 percent loans. For the quarter ending March 31, 1981, a new billing
form will be available which will, eas required by the new legislation,
provide separate lines not only for the 9 percent interest rate, but also for
the reporting of the appropriate balances for special allowance purposes.

A_lender makes new loans at any interest rate using tax exempt funds after
October 1, 1980. The present billing torm will be used for requesting
special allowance which will be paid at the old statutory rate for the
quarter ending December 31, 1980, only. beginning with the March 31,
billing, a special billing form will be provided in order to segregate
loans, for special allowance purposes, by date of disbursement --

those made prior to October 1, 1980, and those made on or after

October 1, 1980. As tar as payment of interest benefits, procedures

for lenders that make loans with tax exempt funds will be no different from
these of any otner lender. ,

DEFERMENTS

Tne amendments added four new deferment provisions to the GSLF. They are:

1. Not in excess of three years during which the borrower is an
Officer in the Commissioned Corps of the Public Health Service;

2. Not in excess of three years during which the borrower is
temporarily totally disabled, as established by sworn affidavit
of a qualified physician, or during which the borrower is unable
to secure employment by reason of the care required by a spouse
who is so disabled.

3. Not in excess of three years during which the borrower is in
service, comparable to the service under the Peace Corps Act or.
the Domestic Volunteer Service Act of 1973, as a-full-time
volunteer for an organization which is exempt from taxation
under section 501(c)(3) of the Internal Kevenue Code

of 1954; anc

4. Not in excess of two years during which the borrower is serving an
internship, the successful completion of which is required in order
_to receive professional recognition required to begin professional
practice or service.

Numbers one and two above are self-implementing and will become effective
January 1, 1981, for outstanding loans as well as for new loans. If a borrower,
for example, is currently an officer in the Commissioned Corps of the Public
Health Service as of January 1, 1981, he or she is entitled to a deferment

for up to three years.

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sources of credit. including that to be
made available from each other. The
applicant Authority must therefore
secure the written concurrence of the
other Authorities shering its service srea
in its estimates of credit to be provided
by lenders and secondary markets other
than the Authorities. lf that concurrence
cannot be secured. the applicant must -
estimate the amount of.credit to be
provided by those landers bssed on.
their past performance. | 682.815(g). .

In estimating the amount of credit to
‘be provided by other Authorities. -
however, ths applicant Authority should
not include the amount of loans to be
mede or acquired with the proceeds of
{ax-exempt issues which bave not been
justified and approved by the Secretary
under this Subpart, since such amounts
are presumably speculative until that
approval. To ensure thet al) Authorities
comply with the statutory prohibition on
overissuance, each Authority sbaring 6
service area with another Authority
toust provide the applicant Authority
with reliable information to identify any
portion of its loan acquisition budget to
be hnanced by tax-exempt iseves not
yet approved. The Secretary will where
necessary, assist-the applicant Avthority.
in determining this amount using.
information evailable to the Department
from sudits, Plans, issue justiice tons.
or other sources.

Third, Authorities sharing s service
area must reach agreement on the
menner in which esch wil) meet the
needa-identified there. The statute gives
the Sécretary no mandate to select one
Autbofity over another to use tax- |
exempt funds to finance student Joans
for a commonly-served student
population. Therefore, where two or
more Authorities propose to finance
loans for « commonly-served borrower :
populetion, they must agree on the
respective portions of thet unmet need
which each wil] serve, and where they’
cannot agree, secure an equitable
division by arbitration Since an
apportionment of ¢ Stete's privete
ectivity bond limit among potential
issuers ie now imposed on State
governments by section 621 of the ©
Deficit Reduction Act of 1954, the
Secretary expects that ih many
instances the apportionment required:
under this Subpart will be governed by .
the allocation decisions made by the
State in which the Authorities operste,
and will sdd no burden beyond that‘
already imposed by these amendments
to the Internal Revenue Code.

j. Review by the Secretary of the
Treasury, § 682.822(c). The final
regulations inclode a new-prévision -
which allows the Commissioner of.

Sct

  
   
   
   
 
  
   
 
 
 
 
  
   

. $82.302(e). Therefore, eny party which

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Internal Revenue to review any ED
decision regarding a justification for a
proposed tax-exempt obligation. This
provision implements section 636 of the
Deficit Reduction Act of 1984 (Pub. L.
98-369, July 16, 1984. 98 Stet. 941). This

‘right to review mven to eflected parties

applies only to ED decisions.regarding
approval of new isaves, not to other
decisions under this Subpart See 130
Cong. Rec $ 4513 (April 12, 1984). The
Secretary of Educstion will consider his
decision in-light of the report issued

the Commissiones, and will -:
communicate a final decision to-the--
Authority within 30 days of receiving
that report .

~ k. Poyment of special allowances to
partes acquiring loans from or on
behalf of an Authority, 1} 682.823,
682.302(e). The reguistions clarify the
rights of parties which scquire from or .
on behalf of an Authority loans Anenced
with tax-exempt obligations. Parties
which acquire losns on behalf of an
‘Authority using funds edvanced by the
Autbority are ecting as its agent and
scquire no grester rights than the
Authority. fea2.500 On the otber hand
parties which ecquire loans from an
Authority by purchase in « secondary
market trensection or by exercise of 2
take-out agresment used a2 8 credif
support for an lasue, typically do so
using-funds derived from
tax-exempt obligations.(The :
regulations provide that any sanctions
or limite tions imposed under this
Subpart on loans financed by those tax-

  

exempt obligstions apply only so long as

the loans remain financed by tax-
exempt obligations. See §§ 682.623;

uses funda derived from sources other
than tax-exempt obligstions to scquire
loans from an Authority, or, if an
Authority, to refinance those Joans,
takes or holds those loans free of any
sanctions previously imposed on the
Authority. :
eregule Dons do not specifically
address the rights of an Authority which
uses tax-exempt financing ‘to acquire.
loans from another Authority, However.
only an Authority or an entity ecting on

- bebalf of an Authority can jesus tax-

exempt obligations: loans acquired even
from another Authority with the
proceeds of a tax-exempt issue qualify
for special allowance payments only if
the issuing Authority bas both an
approved Plan and e justification .
approved under this Subpart for the
issue in question. — .

" L Special allowance rate payable on
taxable financing, | 682-302(e). The

’ regulations also clarify the closely

related issue of the rate of speci:

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allowance payable on loans acquired
with funds derived from sources other
ihan tax-exempt obligations. The rule
implements the Congressional intention
in section 438(b){2) of the HEA to reduce
special allowances to parties whose
lower cost of borrowing does not justify:
Federal subsidy at the rate paid
commercial lenders. These regulations

, therefore tie the rete of special...
; allowance to the sourcs of the funds ° ..

used to acquire or maintain the .

* Autbority’s interest in a loan, and more _

particularly, to the financing costs
-incurred in secaring those funda. .
Congress recognized that a party raising
loan acquisition funds by means of tax-
exempt borrowings had a financing cost
well below that incurred by parties
‘using other sources of funds, and the
1980 amendments to section 434 of the
HEA which reduced the special
allowance to tax-exempt borrowers
reflect e Congressional judgment of the
‘subsidy appropriate to their reduced
borrowing costs. A party using taxable
financing to make or acquire student
loans bas s higher cost of funds, and |
merits, on that accunt, the higher, full
special] sowance rete. While taxable
financing was not generally used by
Authorities. thers was litde need to
address the rsts payable toa party.
which shified from tax-exempt to
taxsble financing but that issue must
- pow be addressed. This shift from tax-
exeript to taxable financing occurs in
two situstions. First. a party may use
taxeble financing to acquire loans from
an Authority or its agent by means of «
normal] secondary market transaction. .
by exercise of its foreclosure rights
under a letter of credit furnished the tax-
exempt issuer, or by the exercise of «
“take-out" commitment given as @ credit

’ support to an issuer. In each of these

instances. {ft is fairly clear that the party
acquiring the loans has only one
financing cost, and does pot sharein
any wey in the reduced borrowing cost |
enjoyed by the issuer of the bonda. :
These-purchasers therefore receive full.
special] allowances on loans so acquired.
Second, the issuer may shift from tax-
exempt to taxable financing when :
refunding tax-exempt obligations. Here
the ectual financing cost incurred by -.
that issuer depends on both the interest
rate paid on obligstions used to effect
the refonding. and. if the refunding is an
advance refunding, oni the yield earned
on the investments used to defease the
prior tax-exempt bonds. Where « party
uses taxable financing to retire tax-
exempt bonds, Its current borrowing
costa is based entirely on the cost of the
new funds, and such.a party qualifies for
full special allowance on loans financed.

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Department of
Education

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Guaranteed Student Loan Programs;
Proposed Rule

 

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attempt to obtain the missing
information from the borrower.
The proposed reguiations would treat
a certified SLS application as sufficient
documentation for a student deferment
for an SLS loan up through the student's
anticipated graduation date indicated on
the application, and for a Stafford loan
guaranteed by a guarantee agency
whose student status confirmation
report system includes a mechanism for
the school's confirmation of the
borrowers’ student deferment status.
Section 682.212 Prohibited
Transactions
” The Secretary intends to clarify that a
loan sold or otherwise transferred at
~ discount by a schaal may only be done
on a case-by-case basis with the
Secretary's explicit approval.

Section 682.214 Compliance With
Equa! Credit Opportunity Requirements

The Secretary proposes to revise the
regulations by including a provision
requiring a lender making a Stafford
igan to comply with the equal credit
opportunity requirement of regulation B,
12 CFR part 202. as applicable to credit
assistance programs authorized by law
for the benefit of an economically

' disadvantaged class of persons.

_ Subpart C-—Federal Payment of Interest
and Special Allowance

These sections have been renumbered
to accommodate changes.

Section 682.301 Eligibility of Borrawers
for Interest Benefits on Stafford Loans

A substantial amount of this section
would be deleted. because, under the
4986 Amendments, need, and therefore
eligibility for interest benefits, is
determined through a need analysis
svetem approved for use in the campus-
based programs. Need must be
determined for every applicant:
therefore, the $30.000 adjusted gross
- income provision would be eliminated.
in addition. this subpart would be .
revised to reflect the Secretary's
position described above with respect to
interest benefits on Stafford loans made
to members of a religious order.

Section 682.302 Payment of Special
Allowance on GSL Loans

- Proposed § 682.302(e} would be
revised to refer to § 682.800, and those
provisions governing special allowance
payments for loans financed by tax-
exempt obligations would be

ees in § 682.800.
* -Section 682.303 [Reserved]

The proposed regulation would move -

the provisians of § 682.303 Proftibition

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against discrimination as a condition
for receiving special allowance
payments to § 682.840.

Section 662.305 Procedures for
Payment of Interest Benefits and Special
Allowance

The proposed regulations would
provide that the Secretary does not
consider a request for interest benefits
and special allowance to be accurate if
the request is not provided on a form
prescribed by the Secretary, does not

’ contain all the information required by .
the Secretary, or includes conflicting -
information. .

The proposed regulations would
require that a lender whose outstanding
GSL loan portfolio during any fiscal year
exceeds $10 million must have an
annual independent financial and ~
compliance audit of its billings for
interest benefits and special allowance
paynients. The Secretary believes that
an annual audit of such large volume
lenders would reduce lender billing
errors, and thus reduce the cost to the
Federal Government of these payments.
This change is being proposed in
response to a recommendation by the
General Accounting Office (GAO Report
HRD 88-72).

Subport D-—Guarantee Agency
Programs .

Section 682.401 Basic Program
Agreement

The Secretary proposes to revise this
section to require that'a guatantee
agency require a borrower to notify the
school of any change in the borrower's
employer or the employer's address. ta
assist the holder in locating the
borrower if he or she “skips”, aad to
facilitate wage garnishment in the event
of default.

Administrative fee for Coasoalidation
loans. The Secretary proposes to limit to
$50 the fee a guarantee agency may
charge a lender to defray the agency's
administrative costs incurred in
guaranteeing a Consolidation loan.

Section 682.402 Death, Disability, and
Bankruptcy Payments

The Secretary proposes to amend the
regulations to address more specitically
the treatment of bankruptcy petitions
filed under chapters 11 and 12 of the
Bankruptcy Code. In addition. a
guarantee agency would be provided
with the flexibility to establish a time
frame, not to exceed 30 days. for lenders
ta file a bankruptcy claim with the
agency. Proposed § 682.402(d}(2) would
also expand the forms of documentation
a lender may uee to determine that a
borrower has filed a bankruptcy petition

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to include other appropriate documents,
e.g. written notices fram the debtor's
attorney. in lieu of the notice of the first
meeting of creditors. .
The Secretary also proposes to allow
a guarantee agency to submit a chapter
13 bankruptcy claim to the Secretary for
reimbursement after it has paid the
claim to the lender. Guarantee agencies
would no longer be required to hald
chapter 13 loans until a general order of
discharge is entered, which can often
occur up to five years alter the agency
pays the lender on the claim.
The proposed regulations would
cevise § 622.402{2) regarding the actions
required of guarantee agencies in
bankruptcy proceedings on loans
acquired by the guarantee agencies
through payment uf bankruptcy claims.
The proposed regulations would require
the agency in a chapter 7 proceeding, if
it determines that repayment weuld agt
constitute an undue hardship for the
debtor, to determine whether the
expected costa of opposing the
discharge petition would exceed one-
inird of the total amount owed on the
loan, and if it does not. to oppose the
petition, and to seek a judgment if the
borrower has defaulted on the loan.
Payment of death, disability, and
bankruptcy claims by the guarantee i
agency. The Secretary proposes to ‘
reduce from 90 ly 45 days the period :
within which a guaraniee agency is '
required to pay a death. disability, and
bankruptcy claim to a lender. The
proposed regulations would ulso clarify
a guarantee agency's responsibility to
diligeatly oppose the discharge of a CSL
loan in ban«ruptcy.

Section 682.404 Federal Reinsurance
Agreement

The Secretary proposes to clarify that
an agency is prohibited from double
charging the Setfetary for costs of
supplemental preciaims assistance if
those costs have already been
reimbursed under the 30% retention of
collection.

The Secretary proposes to revise the
regulations to implement the provisions
of the 1986 Amendments allowing a
guurantee agency to transfer a laan
guarantee issued by that agency to-
another guarantee agency with the
approval of the receiving agency and the
holder of the loan. The quarterly report
{ED Form 1130} would be revised to.
provide for the reporting of these
transfers. Therefore. in proposed
$ 682.404{b){5), the definition of the
“amount of logns in repayment” would
be revised to include the original
principal arnount of all loan guarantee
transfers received from other agencies.

 

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borrower's obligation to repay a GSL
loan. This-includes, but is not limited to.
a lender's duty to engage in the due
diligence activities specified in :
§§ 632.207, 682.208, and 682.411, and a
guarantee agency's duty lo engage in the
due diligence activities specified in

§ 682.410(b).

(Authority: 20 U.S.C. 1077, 1078, 1076-1, 1078-
3, 1078-3, 1082)

Subpart C~Federal Payments of
interest and Special Allowance

§6$2.300 Payment of interest benefits on
Stattord toans.

(a) General. The Secretary pays a
lender a portion of the interest ona
Stafford loan on behalf of a borrower
who qualifies under § 692.301. This
payment is known as interest benefits.

{bv} Covered interest. (1) The Secretary
pays a lender the interest that accrues
on an eligible Stafford loan—

(i) During all periods prior to the
beginning of the repayment period,
except as provided in paragraph (b)}(2)
of this section;

(ii) During any period when the
borrower has an authorized deferment,
and, if applicable, a post-deferment
grace period: and -

{tii} During the repayment period for
loans described in paragraph (d)(2) of
this section. .

(2) The Secretary's obligation to pay
interest benefits on an otherwise eligible
loan terminates on the earliest of~

(i} The date the borrower's loan is
repaid; .

{ii)'With respect to the portion of a
loan represented by a single
disbursement of loan proceeda—

{A) The date the check for the
disbursement is returned uncashed to
the lender; or ;

_ (B) The 120th day after the date of that
disbursement. if—

{1) The check for the disbursement
has nat been cashed on or before that
date; or :

(2) The proceeds of the disbursement
made by electronic funds transfer in
accordance with § 682.267(b)(1)(ii}[B)

— have not been released from the
restricted account maintained by the
school on or before that date;

(ii) The date of default by the
‘borrower;

{iv} The date that the lender receives
payment of a claim for loss on the loan:
{v) The date the borrower's loan is

discharged in bankruptcy:

(vi) The date the lender determines
that the borrower has died or has
become totally and permanently

. dsabled:or | .
) (vii) The date the loan ceases to be
/ guaranteed or ceases to be eligible for

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reinsurance under this part. with respect
to that portion of the loan that ceases to
be guaranteed or reinsured, regardless
of whether the lender has filed a claim
for loss on the loan with the guarantor.

{3} Section 682.412(a} sets forth
circumstances under which a lender
may be required to repay interest
benefits received on a joan guaranteed
by a guarantee agency.

(c) Interest not covered. The Secretary
does not pay— .

(1) Interest for which the borrower is
not otherwise liable; or

(2) interest paid on behalf of the
borrower by a guarantee agency.

(d) Rate. {1) Except as provided in
paragraph (d)(2) of this section, the
Secretary pays the lender at the actual
interest rate on a loan provided that the
actual interest rate does not exceed the
applicable interest rate.

(2) For a loan disbursed prior to
December 15, 1968, or subject to a
binding commitment made prior to that
date, the Secretary pays an amount
during the repayment period equivalent
to three percent per year of the unpaid
principal amount of the loan.

(Authority: 20 U.S.C. 1078, 1082)

§ €82.301 Eligibltity of borrowers for
interest benefits on Stafford loans.

(a) General. (1) A borrower must
demonstrate financial need in
accordance with part F of the Act to
qualify for interest benefits on a Stafford
loan.

(2) The Secretary considers a member
of a religious order, group, community,
society, agency. or other organization
who is pursuing a course of study at an
institution of higher education to have
no financial need if that organization—

{i) Has as its primary objective the
promotion of ideals gnd beliefs
regarding a Supreme Being:

{li) Requires its members to forego
monetary or other support substantially

‘ beyond the support il provides; and ..

(A) Directs the member to pursue the
course of study; or

(B) Provides subsistence support ta its
members.

(b) Application far interest benefits.
To apply for interest benefits, the
student shall submit a loan application
to the lender. The application must
include a certification from the student's
school of the following information:

(1) The estimated cost of attendance
for the student for the academic period

‘for which the loan is intended. -

{2) The estimated financial assistance
for the student for the academic period
for which the loan is intended. .

{3} The student's expected family
contribution, as determined pursuant to

eopomerte

part F of the Act, under 2 need analysis
system approved by the Secretary.

{4) The amount of the student's need
for a loan. as determined pursuant to
part F of the Act, under a need analysis
system approved by the Secretary.

{c} Use of loon proceeds to replace

expected family contribution. A

borrower may use the amount of a SLS.
PLUS, or non-subsidized Stafford loan
obtained for a period of enrollment to
replace the expected family contribution
determined under paragraph (b){3) of
this section for that periad of
enrollment.

(Authority: 20 U.S.C. 1678, 1082, 1087-1)

§ 682.302 Payment of special allowance
on GSL loans.

{a} Generol. The Secretary pays a
special allowance to a lender on an
eligible CSL loan. The special allawance
is » percentage of the average unpaid
principal balance of a loan, including
capitalized interest, computed in
accordance with paragraph (c) of this
section. i

(b} Eligible loans. (1) Except for
Stafford loans disbursed on or after
October 1, 1981 that do not qualify for
interest benefits under § 682.301, or as
provided in paragraph (b)(2) or (e) of
this section, GSL loans that otherwise
meet program requirements are eligible
for special allowance payments. ©

(2} For a loan made under the SLS or
PLUS Program on or after July 1, 1967 or
made under § 682.209 (e) or ({} no
special allowance is paid for any period
for which the interest rate determined
under § 682.202(a}(2}(iv)(A) for that loan
does not exceed 12 percent.

{c} Rate. (1) Except as provided.in
paragraph (c)(2).of this section, the
special allowance rate for an eligible
loan duriag a three-month period is
calculated by-— -

{i} Determining the average of the
bond equivalent rates of the 91-day
Treasury bills auctioned during the
three-montir period: ,

{ii} Subtracting the applicable interest
rate for that loan;

{iii). Adding—

{A} Three and one-quarter percent lo
the resulting percentage, for a loan mace
on or after November 16, 1966:

(D) Three and one-quarter percent to
the resulting percentage. for a loan made
on or after October 17, 1986 but before
November 16, 1986, fora period of
enrollment beginning on or after '
November 16, 1988;

(C) Three and one-half percent to the
resulting percentage. for a loan made
prior to October 17, 1986, or for a loan
described in paragraph (c)(2} of this —

section; or

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Federal Register / Vol. 55, No. 224 / Tuesday, November 20.

1990 / Proposed Rules 4835:

 

(D) Three and one-half percent to the
resulting percentage. for a loan made on
or after October 17, 1986 but before
November 16, 1986, for a period of
enroliment beginning prior to November
16, 1986;

{iv) Rounding the result upward to the
nearest one-eighth of one percent. for a
loan made prior to October 1, 1981: and

(¥) Dividing the resulting percentage
by four.

(2) The special allowance rate
determined under paragraph (c){2)(lii)(C)
of this section applies to loans made or
purchased from funds ebtained from the
issuance of an obligation of the—

(i) Maine Educational Loan Marketing
Corporation to the Student Loan
Marketing Association pursuant to an
agreement entered into on January 31,
1984; or

{ii} South Carolina Student Loan
Corporation to the South Carolina
National Bank pursuant to an agreement
entered into on July 30, 1986.

(3}{i) Subject to paragraph (c}(3){ii) of
this section, the special allowance rate
is one-half the rate calculated under
paragraph (c)(1)(iii)(C) of this section for
a loan rade or guaranteed on or after
October 1, 1980, that was made ar
purchased with funds obtained by the
holder from-—~ ‘

(A) The issuance of obligations. the
income from which is exempt from
taxation under the Internal Revenue
Code of 1986;

(B) Collections or payments by a
guarantor on a loan that was made or
purchased with funds obtained by the
holder from obligations described in
paragraph (c}(3)(i}(A) of this section:

(C) Interest benefits or special
allowance payments on « loan that was
made or purchased with funds obtained
by the holder from obligations described
in paragraph (c){3)(I)(A) of this section:

(D) The sale of a loan that was made
or purchased with funds obtained by the
holders from obligations described in __
paragraph (c)(3){i)(A) of this section: or

{E) The investment of the proceeds of
obligations described in paragraph
{c}{3){i}(A) of this section.

{ii} The special allowance rate
applicable to loans described in
paragraph (c)(3)(i) of this section may
not be less than—

{A] Two and one-half percent per year
on eligible loans for which the
applicable interest rate is seven percent:

(B} One and one-half percent per year
on eligible loans for which the
applicable interest rate is eight percent;
or

(C) One-half of one percent per year
on eligible loans for which the
applicable rate is nine percent,

 

(d} Termination of special allowance
poyments on a loan. (1) The Secretary's
obligation to pay special allowance on a
loan terminates on the earliest of the
date—

(i) The borrower's loan is repaid:

(ii) The borrower's loan check is
returned uncashed to the lender,

{iii} The lender receives payment on a
claim for loss on the loan:

{iv) The loan ceases to be guaranteed
or ceases to be eligible for reinsurance
under this part, with respect to that
portion of the loan that ceases to be
guaranteed or reinsured, regardless of
whether the lender has filed a claim for
loss on the loan with the guarantor;

{v) Forty-five days after the
borrower's default on the loan, unless
the lender files a claim for loss on the

- Joan with the guarantor together with all

required documentation, prior to that
45th day; or
{vi) The 120th day after the date of

_ disbursement, if—

(A) The lean check has not been
cashed on or before that date; or

(B) The loan proceeds disbursed by
electronic funds transfer in accordance
with § 682.207{b)(1){ii)(B) have not been
released from the restricted account
maintained by the school on or before
that date; or

{vii) The date the guarantee agency
returns a claim for loss on the loan to
the lender for additional documentation.

(2) Section 682.412{a) sets forth the
circumstances under which.a lender
may be required to repay special
allowance received on a loan
guaranteed by a guarantee agency.

(e) Special allowance payments for

- loans financed by proceeds of-a'tax-

exempt obligations. (1) The Secretary
pays a special allowance on a loan
described in paragraph (c}(3)(i) of this
section that is held by or on behalf of an
Authority only if the loan meets the
requirements of § 682.600.

(2) The Secretary pays e special
allowance to an Authority at the rate

* prescribed in paragraph (c)(1) of this

section on a loan described in paragraph
{c){(3)(i) of this section-—~

(i) After the loan is pledged or
otherwise transferred in consideration
of funds derived from sources other than
those described in paragraph {c)(3)(i) of
this section and—

(ii) If the authority retains a legal or
equitable interest in the loan—

{A} The prior tax-exempt obligation is
retired: or

(B) The prior tax-exempt obligation is
rendered null and void by means of
obligations that the Authority certifies in
writing to the Secretary bear a yield that
does not exceed the yield permitted
under Internal Revenue Service|

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regulations, 26 CFR 1.103-14. with regar:
to investments of proceeds of a tax-
exempt refunding obligation.

(Authority: 20 U.S.C. 1077, 1078. 1078-1.
1078-2. 1078-3, 1082, 3087-1)

§ 682.303 (Reserved)

§ 682.304 Methods tor computing interest
benefits and special allowance.

(a) General. The Secretary pays a
lender interest benefits and special
allowance on eligible loans on &
quarterly basis. These calendar quarters
end on March 31, June 30, September 30,
and December 31 of each year. A lender
may use either the average daily
balance method or the actual accrual
method to determine the amount of
interest benefits payable on 8 lender's
loans. A lender shail use the average
daily balance method to determine the
balance on which the Secretary
computes the amount of special
allowance payable on its loans.

(b) Average daily balance method for
interest benefits. (1) Under this method,
the lender adds the unpaid principal
balance outstanding on all loans
qualifying for interest benefits at each
actual interest rate for each day of the
quarter, and divides the sum by the
number of days in the quarter and
rounds the result to the nearest whole
dollar. The resulting figure is the:
average daily balance for qualified
loans outstanding at each actual interest
rate.

(2) The Secretary computes the
interest benefits due on all qualified.
loans at each actual interest rate by
multiplying the average daily balance
thereof by the actual interest rate, ;
multiplying this result by the number of
days in the quarter, and then dividing
this result by the actual number of days
in the year.

(c} Actual accrual method for interest
benefits. (1) Under this method, the
lender computes the total unpaid
principal balance outstanding on all
qualified loans at each actual interest
rate on each day of the quarter.
multiplies this result by the actual _
interest rate, and divides this result by
the actual number of days in the year, or
alternatively, 365.25 days. A lender who
chooses to divide by 365.25 days must
do so for four consecutive years.

(2) The interest benefits due for a
quarter equal the sum of the daily
interest benefits due, computed under
paragraph (c}(1) of this section, for each
day of the quarter.

{d) Average daily balance method for
special allowance. {1) To compute the
average daily balance outstanding for
special allowance purposes, the lender

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Attachment 4

 

NCHELP PROGRAM REGULATIONS COMMITTEE
ANALYSIS OF SECOND CLEARANCE DRAFT
11/20/90 NPRM

FEBRUARY 14, 1992

  

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Page 216, | For Séétion  682.302(@)(1)W)(A) .- see commiéiit’ “for” Section
682.300(b)(2)(ii)(A) which pertains to “negotiated” checks. Comment listed for page
211. ee

For Section 682.302(d)(1)(vi)(B) - see comment for Section 682.300(b)(2)(4i)(B) which
pertains to interest benefits and EFT.. If implemented, it will require a 120 day delayed
implementation period. —_. Te

Section 682.302(d)(1)(vii) would terminate special allowance if a Jender fails to resubmit
a returned claim with the guaranty agency within 30 days. As stated in our comments,
we view this as an issue for lender reviews, however, if the Secretary determines it is
necessary to regulate this, 60 days is a more reasonable timeframe to refile returned -
claims. Returned claims are often complex and require information be secured from
another party. In addition, lenders should not incur losses due to guarantors
. inappropriately returning claims nor should lenders be placed in an adversarial position
with guarantors in order to recover such inappropriate losses.

In addition to the timeframe concern, the regulation is: unclear if special allowance
payment is reinstated upon refiling of the claim with the guarantor. If any timeframe is
included in the final regulation, a 120 day implementation period will: be necessary to
make the required changes to systems... Fo oe :

Section 682.302(e)(2)(ii) should be deletéd,  Subparagraph 682.302(e)(2)(i) describes the
, conditions under which a loan previously funded from tax-exempt sources and receiving
VT 1/2 special allowance payments can be subsequently funded with taxable sources and be
Me eligible ‘for full special allowance payments, Subparagraph (ii) is unnecessary and
incorrect a8 it is permissible to. receive full special allowance payments on a loan which
was “originally” funded with tax-exempt. sources, is currently funded with taxable

sources, and the’ tax-exempt debt may not necessarily be retired or null and void. |.

.304 Methods for. Computing Interest Benefits .

Page 217, Section 682.304(b)(1) describes the average daily balance method for
: calculating interest benefits. The Secretary permits-use of 365.25 days for the actual
i _ accrual’ ‘method described in 682.304(¢)(1).:. .The.: reason ; identified in the -
Comment/Response section for redtricting this calculation to one’ method. is unclear.
, Lenders who usé a leap: year divisor will have to make system. changes in order to
accommodate this change. These: changes will be significant and require a delayed
"implementation timeframe. - Fae
ae .305 Procedures for Payment of Interest Benefits and Special Allowance: _
Page 219, Section 682.305(a)(4)(ii). reviews the liability of lenders and “Subsequent
holders for payment of the origination fees.. The Comment/Response indicates that the
regulation “codifies" the Secretary’s “long-standing view" on this matter. The only

. previous binding issuance was paragraph (iii) that stipulated joint liability for loans sold
a) . or transferred-during. the disbursement quarter. ‘This regulation will require purchasers

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: Attachment 5

 

 

The New England Education Loan M wketing Corpor ation

January 13, 1993

Mr. Robert Evans

Director, Policy and Development
U.S. Department of Education
ROB 32 - Room 4310

7th and D- Street, SW”
Washington, DC 20202

Dear Bob:

   

As we discussed last week at the negotiating session, the following are some
of the proposed changes to the draft regulations and represent concerns
brought to my attention by issuers of tax-exempt debt. Given the uniqueness of
these issues, I thought the process would be better served by presenting: our
propesals to you outside of the formal negotiations. If you find it. necessary

te inelude these items in the negotiations process. - please let me know and I
wil! request that a financing specialist attend the February, negotiations
session. ° Se ,

Draft Regulations - Page 15

Proposal: 682. -302(b) (2) - We suggest adding the following language at the
beginning of. this section “Except as provided in (ce) (3) of this. section, for a
loan made under the PLUS or SLS Program...."-

Rationale: The change clarifies that PLUS/SLS loans are eligible for special
allowance based-on the. 1/2 SAP provision and the HEA 9. 5% floor provision. As

written, sections 682. 302(b)(2) and 682. 302(¢1 (3) .of the draft regulations are
in conflict.

Final Regulations - Federal l Register Page 60343, Draft Regulations Page 18 18

 

Proposal: 682. 302(¢) (3) ~ We suggest a new paragraph be added to ‘this section
which reads “(¢)(3) (iv) The applicable rate tor purposes of (¢)(3) (ii) ‘and
(cj (3) (hid): ‘is. the net interest rate of the loan after rebate. of any excess
interest required to be applied under section 682. 202."

Rationale: _The change - clarifies the statutory intent as reported in the
colloquy between Congressman Coleman and Congressman Ford. A copy of this
colloquy was provided to Pam Moran last week.

“0 Braintree Hill Park, Suite 300, Braintree, Massachusetts 02184-1763
, GI7 RID 1425 KOO EDU LOAN

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Mr. Robert Evans
Pace two

Final Regulations ~-Federal Register Page 60343

Proposal: 682.302(e)(2) - We suggest that this section be revised to clarify

tha: the 1/2 SAP and floor provisions: apply only to loans pledged to a
tax-exempt debt. ,

Rationale: We ‘continue to disagree with the Secretary's interpretation of this

i section. This section states that once a loan is pledged to a tax-exempt debt,

the 1/2 SAP and floor provisions .continue to apply as long as the authority

: holds legal interest in the loan. Authorities are permitted to pledge loans to
various sources of debt which may include taxable as well as tax-exempt debt. -
Given the Secretary‘s interpretation, a loan pledged to a tax-exempt source of

tunding that “is subsequently transferred to a taxable source of funding would
continue to receive 1/2 SAP and the floor. In addition, this may create’ a
pessible crisis for entities who seek to. refinance these loans.

Effective Date Clari fication

i The -amendments make changes to section 438 which include the SAP reduction to
2.10%, SAP changes for PLUS/SLS loans, inclusion of 5% origination fee for
PLUS/SLS loans, remova) of the discount restriction for tax-exempt debt, and
expansion of the floor provisions for tax-exempt debt. While the effective
date tor the changes made to this section is “loans made on or after 10/1/92",
we suggest that the Secretary interpret the 10/1/92 effective as only applying
t’ the SAP reduction to 3.10%, origination fees for PLUS/SLS and changes in
Sar eligibility for PLUS/SLS. The floor and discount provisions apply only to
tax-exempt financings and as such are tied to purchase dates and/or the date
joans are pledged to a tax-exempt debt not the date of disbursement. We
sugoaest therefore that the effective date for these provisions be -- for the
discount, for loans purchased ‘on or after 10/1/92 and for the floor, loans
pledged to a tax-exempt debt on or after 10/1/92. ‘ :

eet

Final Regulation - Federal Register - Page 60347

Proposal: 682.401(b)(15) - The ‘regulation appears to codify the HEA change
{428G(q)} to restrict the assignment of a Joan until after the loan is fully
disbursed. We suggest that the regulation be amended to include the statutory

 

exception which authorizes the assignment of a joan’ following first
disbursement if the assignment does not resu}t ina change in the identity to
: whom payments must be made. 7

Rationale: Clarifies statutory language.

 

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Mr. Robert Evans
Page three

Final Requlation - Federal Register - Page 60382

Proposal: 682.840 - We suggest that this section be revised ‘to track the
statutory language.

Rationale: While we understand that the final regulations are not subject to
negotiated rulemaking, we have been asked to comment on the nondiscrimination
language included in 682.840(b). This section of. the regulation would expand
the statutory: prohibition for an authority to receive SAP if the authority
discriminates to also include the prohibition for SAP if the “authority makes
or acquires loans guaranteed by an agency or organization that discriminates.‘
This language is too broad and may have a substantia) effect on the
availability of authorities to secure -financing -- tax-exempt as well as
taxable.

Final Regulation - Federal ‘Register - Page 60345

Proposal: We suggest that the regulations be amended to clarify that the OMB
Circular A-l]33 ‘audit should suffice tor audits of nonprofit organizations.

Rationale:. Based on. ovr on-going discussions with OMB officials, we find OMB
taking exception to ED‘s position that is) stated in the preamble of the

12/18/92 - requlations (see comment under 682.830) and believe OMB is poised to ~

assert the view that the guarantor program review under ~662.410(c})(1) (4) (B)
remains duplicative, thus inconsistent with A-133 and unenforceable.

Please let me. know if I can he of - further assistance on any of these

_ proposals. 1 look forward to your reply.

Sincerely,
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a .
Sheila M. Ryan
Director, Strategic Planning
and Development ,

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ELI-HC00000205

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deadline specified in (v) of this section."

DCL 3. The interim guidance provided.on the ‘92 Amendments in GEN-
92-21 will be used in conjunction with the final regulations. The
DCL will provide additional quidance on the use of this section in
light of the statutory changes. The /92 Amendment changes will be
regulated as part of negotiated rulemaking NPRM.

682.302(e)

1. That is correct and it remains the Department’s position on
¥" this issue.

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SECTION 682.304 Posthm-UNnolGirral Common —-no hale.

PDI 1. Form 799 has been completed and is being mailed. The
Department understands that systems must be revised to comply with

the provision. .

DCL 2. The DCL will clarify that this will apply to bills submitted |
to the Department on/after 2/1/93 unless a further delay in
implementation is decided upon. —

ct : 3

1. Unclear what the commenter is referring to. The comment and
discussion do not appear to add anything not included in the
regulations except to discuss some of the operational implications.

DCL 2. The Department. would consider this to be effective for
loans transferred on/after 2/19/93. ,

682.305(c)

PDI 1.& 2.The Department considers. the statutory audit requirement
to be self-implementing. and. plans to implement. the audit
requirement when the audit gjide under development. is available.
The regulatory requirement, which was subjected to public comment
and revised as a result, was/also revised to remove any conflicts
between the. regulatory and statutory requirement. -

3. The provisions of the statutory requirement will be addressed
in developing the negotiated: rulemaking NPRM. The Department does
not interpret "an audit for other purposes" to mean. an alternative
to the audit. sO,

4, Lender reviews are different than audits in the same way that
| school reviews are different than, independent audits for schools.
; We believe that .305(c) acknowledges the ability of nonprofits to
do a single audit and the applicability of 31 U.S.C. 7502 and OMB

4 Circular A-133. See the last comment and discussion under -305(c).

. ; ae)
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER ELI-HC00000207

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Case 1:07-cv-00960-CMH-JFA Document 333-22 Filed 06/18/10 Page 32 of 54 PagelD# 6514
, Attachment 8

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MAE

MEMORANDUM

TO: Jean Frohlicher
Mark Cannon
Roxy LeFever
Jane Stewart
John Morris
John Wild

FROM: Sheila Ryan Sry.

DATE: February 16, 1993

RE: Tax-exempt Issues

As part of the Negotiated Rulemaking process and the development of
regulations to implement the 1992 amendments, we identified several issues
which are unique to tax-exempt entities. Attached is a copy of my initial
letter to Bob Evans regarding these issues. Given the uniqueness and
complexity of these issues, I elected not to include these issues as part of
the negotiations but rather met with Brian Seigal at OGC to discuss the issues
outside of the formal negotiations. The following is a summary of ED’s
response to each of the issues outlined in my letter to Bob.

I welcome comments regarding our strategy for follow-up of these items.

Issue #1 - Applicability of PLUS/SLS and the 9.5% floor. OGC indicated it
appears that PLUS/SLS loans would be covered by the floor of 9.5% and would
make the necessary changes to the draft regulations to address this issue. I
will contact Brian to secure a final confirmation of this ruling.

Issue #2 - The colloquy and the floor. OGC reported that the colloquy is not
legally binding and therefore will not adopt our proposal. This means that
loans subject to the rebate do not have the benefit of the floor. While it
should be clear, I will confirm with Brian that variable rate loans do have
the benefit of the floor.

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Case 1:07-cv-00960-CMH-JFA Document 333-22 Filed 06/18/10 Page 33 of 54 PagelD# 6515

Page two

Issue #3 - Once. 1/2 SAP/floor always 1/2/ SAP floor. This issue has been
around since the 12/90 NPRM. ED suggested in the NPRM that the 1/2 SAP applies
if the authority retains legal interest in a loan which was/is pledged to a
tax-exempt debt unless the financing is paid in full. ED has taken this
position because they do not want non-profit entities to move loans to various
debts to maximize yield. Brian finally agreed, however, that ED‘s position
would not benefit the Department as this would imply that once we pledged a
lean to a tax~exempt debt, we would have the benefit of the 9.5% floor
regardless of the current financing source. Brian indicated that ED would
consider changing this section to read “if a loan is pledged to a tax-exempt
financing...‘, thus if we reassign a loan to a taxable financing the 1/2 SAP
and 9.5% floor provisions would be eliminated.

Issue #4 - Effective Date Issues. ED indicated that they would not “interpret”

the effective dates as we had suggested. We should pursue a technical on this
provision.

Issue #5 ~- Issues regarding transfers. The draft regulation (round #2) for
Negotiated Rulemaking has been amended to address this issue.

Issue #6 - Nondiscrimination provision. This provision was not changed during
Reauthorization thus Brian indicated it is not subject to Negotiated
Rulemaking. Brian stated that this provision was intended to address
situations such as ... a guaranty agency does not want to make loans to a
certain sector and thus enters into an agreement with a secondary market for
these loans to be ineligible for purchase. Whether or not we executed the
agreement, per OGC we would be in violation of the regulation. Brian indicated
that this provision was to address actions “we knowingly participated in” not
blind transactions. He indicated that, while they would not change the

regulation, they would respond to letter of inguiry to clarify the scope of
this provision.

Issue #7 - A-133 audit and agency reviews. Again, it was stated that this is
not subject to negotiated rulemaking. Brian indicated that OMB Circular A-133

specifically excludes reviews from the single audit provisions. We should pull
A-133 to validate his response.

cc: Larry O'Toole
Jack Remondi
Paul Marble
Marylou Hannon

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Attachment 9

 

April 16, 1993

Mr. Robert Evans

Director

Policy and Program Development
U.S. Dept. of Education

400 Maryland Ave, SW RM 4310
ROB-3

Washington, DC 20202-5449

Dear Bob:

Iam writing as a follow-up to our meeting last week regarding the
; December 18, 1992 final regulations. As ED prepares the DCL to address the
i : concerns raised at the meeting, there are two sections that are of particular
interest to Nellie Mae and ask that the DCL address these issues:

© Section 682.302 (e)(2) states that once a loan is pledged to a
tax-exempt debt, an authority would receive 1/2 SAP and the 93.5% floor
as long the authority continues to hold interest in the loan (unless
the tax-exempt debt obligation is retired or defeased) .-

To be certain tax-exempt entities properly bill for SAP pursuant to
this section, we suggest the DCL clarify any changes in the 799
instructions which may be necessary to implement this section.

Sécondly, we suggest that ED clarify the effective date -- 799’s filed
on/after February 1, 1993.

oO Section 682.840 (b) pertains to loans held by an authority that are
guaranteed by an agency that discriminates. We have in the
past expressed our concerns regarding the broad and potentially
bankrupting application of this section. During conversations with
occ; I was advised that this section only applies if the agency and
the authority enter into a ‘special’ relationship which would conspire
to discriminate against certain borrowers. For example, if an
authority agreed not to buy leans made to a certain sector of the
population, thereby, causing lenders participating in the agency's
program to decline to originate these loans.

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Mr. Robert Evans April 16, 1993
Page two

We believe it is necessary for the DCL to clarify the scope of this
section and to limit the authority's liability to only those cases
in which the authority actually was aware of and conspired with the
agency’s discriminating practices. As we have stated in the past, the
broad application of the words of the regulation could enforce
devastating penalties against an innocent authority while no penalties
were applied against the offending guaranty agency.

Please call me if I can answer any questions on these issues.

Sincerely,

Sheila Ryan
Director
Strategic Planning

and Development
SMR: 88

cc: Jean Frohlicher

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER ELI-HC00000211
Case 1:07-cv-00960-CMH-JFA Document 333-22 Filed 06/18/10 Page 36 of 54 PagelD# 6518

 

Attachment 10
UNITED STATES DEPARTMENT OF EDUCATION
OFFICE OF POSTSECONDARY EDUCATION
MAY ~ 7 1993

Ms. Shelia Ryan
Director
Strategic Planning and Development
Nellie Mae

Braintree Hill Park, Suite 300
Braintree, Massachusetts 02186

Dear Ms. Ryan:

Thank you for your April 16 letter in which you have requested
that the Department address sections 682.302(e) and 682.840(h) of
the December 18, 1992 Federal Family Education Loan Program
regulations in the forthcoming Dear Colleague Letter.

We appreciate your sharing your concerns with us and will provide
clarification of the Department’s position on these issues in the
Dear Colleague Letter.

Sincerely,

antes tinar

Robert W. Evans

Director

Division of Policy Development

Policy, Training, and Analysis Service

400 MARYLAND AVE., S.W. WASHINGTON, D.C. 20202

a Oo. tint enn eqi nlaces to dt # « topro. te educational excellence throughout the Nation.

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Case 1:07-cv-00960-CMH-JFA Document 333-22 Filed 06/18/10 Page 37 of 54 PagelD# 6519

, - Sent follm up 1/20

MEMORANDUM

TO: Robert Evans
U.S. Department of Education

FROM: _ Sheila Ryan
Nellie Mae

RE: Tax-exempt issues

DATE: May 27, 1993

As we discussed, the following is a list of issues pertaining to eligibility for interest
benefits for loans funded with tax-exempt obligations, The issues include HEA 1992
provisions as well as new provisions included in the December 18, 1992 final regulations.
I bring these to your attention because I believe that there is great confusion among
participants and to protect against penalties for noncompliance, itis essential that these
provisions be clarified.

HEA 1992 Provisic

* HEA 1992 changed the floor provisions for loans funded with tax-exempt sources of
financing. Loans made on or after 10/1/92 are eligible for the floor of 9.5%. The HEA
1992 provision applies to Stafford, Consolidation, PLUS, and SLS loans.

Issues:

ED has incorporated this change in the draft regulation developed through the
negotiated rulemaking sessions, however, to clarify the PLUS/SLS eligibility it was
suggested that 682.302(b)(2) be amended to read “Except as provided in (c)(3) of this
section ...". The suggested language was intended to clarify that except for loans
covered by the 1992 floor provisions, special allowance would not be paid unless the
annual borrower rate on a variable rate PLUS/SLS loan equaled or exceeded the interest
rate cap. This change was not incorporated into the draft regulation. In addition, it is
my understanding that ED has not paid the appropriate special allowance on PLUS/SLS
loans made on/after 10/1/92. [Statutory source: 438(b)(2)(B)Gi) and 438(b)(2)(C)Gi).]

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Case 1:07-cv-00960-CMH-JFA Document 333-22 Filed 06/18/10 Page 38 of 54 PagelD# 6520

Page two
Mr. Robert Evans

» ED rejected the proposal that the applicable interest rate for purposes of the 9.5% is the
net interest rate after the rebate of any excess interest was paid. The implications of this
decision is that loans funded with tax-exempt debt which are subject to rebate, do not
have the benefit of the floor. Jt appears that there may be conflicting statutory -
provisions regarding this matter which I hope ED will clarify. We believe ED should be
guided by resolving this conflict by the floor colloquey in the House of Representatives —
between Chairman William Ford and Congressman Tom Coleman on this point. The
colloquey confirmed that the applicable rate for purposes of calculating rebates on tax-
exempt debt was the net interest rate after the rebate had been applied.

Section 427A(f) describes the 1986 and 1992 rebate requirements all within the
context of borrower interest rates. Paragraph (f)(3)(B) states that "during periods in
which the borrower is eligible to have interest payments. paid on his or her behalf
by the Government pursuant to 428(a), by credit the excess interest to the
government." During periods in which the borrower is paying the interest, the
rebate is applied to the borrower's account.

Section 438 addresses eligibility for special allowance. In section 438(b)(2){A), the
HEA requires rebates if the calculation for SAP results in a number less than zero.
Section 438(b)(2)(B), which describes SAP calculation for loans funded with tax-
exempt debt, does not, however, require rebates.

Put together, it seems reasonable to conclude and the colloquey clearly .
demonstrates the intent that Joans funded with tax-exempt debt are eligible for the
9.5% minimum rate. for purposes of SAP payments whether or not an account is
eligible to receive a rebate. The fact that the Congress did not include the SAP
rebate requirement in 438(b)(2)(B) supports the language of the colloquy between
Congressman Coleman and Chairman Ford. The only possible other interpretation
would be that rebates are not required for loans funded with tax-exempt debt during
periods in which the government is paying the interest on loan.

December 1992 Regulations

* Section 682.302(e) states that once a loan is pledged to a tax-exempt debt, an authority
would receive 1/2 special allowance and the 9.5% floor as long as the authority
continues to hold an interest in the loan (unless the tax-exempt debt obligation is retired

or defeased).

As stated in my letter of April 16, 1993, to be certain that authorities properly bill for
SAP pursuant to this section, we suggest the DCL clarify any changes in the 799
instructions which may be necessary to implement this section. Secondly, we suggest
that ED clarify the effective date -- 799's filed on/after February 1, 1993.

While I recognize that you and your staff have a number of projects underway, I ask for

your immediate attention on these issues so that we can notify the other nonprofit
organizations of the correct billing procedures.

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UNITED STATES DEPARTMENT OF EDUCATION

OFFICE OF POSTSECONDARY EDUCATION

 

JUL 29 1983

Ms. Sheila M. Ryan

Director, Planing and Development

New England Education Loan
Marketing Corporation

50 Braintree Hill Park

Suite 300

Braintree, Massachusetts 02184-1763

Dear Ms. Ryan:

Thank you for your May 27 memorandum regarding several "tax-
exempt issues." I will address those issues in the order in
which they were presented in your memorandun.

Oo Tax-exempt "floor" for SLS and PLUS loans.

Your statement that "...except for loans covered by the 1992
; floor provisions, special allowance would not be paid unless
- the annual borrower rate on a variable rate PLUS/SLS loan
, equaled or exceeded the interest rate cap..." (emphasis
added) is not correct.

Section 438(b) (2) (B) of the Higher Education Act of 1965 |
(the Act), as amended, establishes the special allowance
formula for tax-exempt loans, including the tax-exempt
floor. However, §438(b)(2)(C) further specifies that SLS
and PLUS loans are not subject to special allowance payments
unless the variable rate exceeds the appropriate caps of
12%, 11%, or 10%. :

Thus, the provisions of §438(b)(2)(C) “override” the
provisions of -§§438(b) (2) (A) and (B) with respect to special
allowance payments on variable rate PLUS and SLS loans
(regardless of the source of financing). We have not paid
special allowance on variable rate PLUS and SLS loans made
during the July 1, 1992 - June 30, 1993 period because the
variable rates. - 7.51%, for loans made prior to 10/1/92, and
7.36%, for loans made on/after 10/1/92 - did not exceed 12%
and 11%/10% respectively. The variable rates for the
current July 1, 1993 - June 30, 1994 period similarly do not
exceed: the applicable caps and no PLUS/SLS loans will be
subject to special allowance payments during that period.

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Ms. Sheila M. Ryan Page - 2

© Use of. "ne erest" rate for the tax-exempt "floor".

Section 438(b) (2) (B) of the Act does establish mininun
quarterly special allowance payments for loans that are made
or purchased with tax-exempt funds. However, the “windfall
profits" provisions in §427A(f) of the Act make no reference
to the special allowance provisions (§438 of the Act) nor do
they contain exceptions for loans made with tax-exempt
funds. Except when PLUS/SLS loans are not eligible for
special allowance payments (see discussion, first bullet
above), tax-exempt loans could very well receive a special
allowance payment pursuant to the "floor" and also be
subject to the “windfall profits" provisions. In fact, the
lender’s annual yield on a “tax-exempt" loan, even with a
rebate, could be higher than the annual yield on a "taxable"
loan. For example, assume two 9% loans (one "taxable," one
"“tax-exempt") are made in October 1992:

e The average of the 91-day T-bills auctioned for the
quarter ending December 31, 1992 was 3.17% Since "3.17%"
j plus "3.1%" (the applicable factor) equals 6.27%, no special
- allowance is paid on the "taxable" loan but the "tax-exempt"
qualifies for a 0.5% payment [the tax-exempt "floor" = 9.5%
less 9% (the interest rate).

e The windfall formula would apply to each loan for the
quarter (3.17% + 3.1% is less than the interest rate (9%) ]
and the lender rebates "9% less 6.27%," or 3.73% (the annual
figure prior to dividing by four to obtain a quarterly
factor)..

e On an annual basis, the taxable loan carries a "Oz
interest rate" plus "zero special allowance payment" less
"3.73% rebate,". equalling a 6.27% annual yield.

e On an annual basis, the tax-exempt loan carries a "9%
interest rate" plus "0.5% special allowance payment" less
"3.73% rebate," equalling a 6.77% annual yield.

e If both loans were 8%/10% loans and only subject to a
rebate formula when the interest rate is 10%, the annual
yield would be identical, since no "tax-exempt" floor would
apply to a 10% rate and the annual yield for both would be
10% less the rebate percentage for both loans.

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Ms. Sheila M. Ryan Page ~ 3

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We "rejected" the use of a net interest rate for the
“windfall profits" calculations because it is clearly not
supported by precise statutory language. Both the new
“windfall profits" provisions enacted by Pub. L. 102-325 and
the prior "windfall profits" provisions reference the
“applicable interest rate." See §§427A(f)(3) and 427A(£) (1)
of the Act, respectively. Similarly, the formulas for
determining the amount of the “windfall profits" adjustment
specify "10 percent" and the “applicable interest rate."
See sections 427A(f) (2) (A) and 427A(f) (4) (A) of the Act.
Thus, the "windfall profits" calculations must incorporate
both the applicable interest rate, the 9i-day Treasury bill
average for the quarter, and the “applicable margin" (3,25%
or 3.1%). The precise statutory wording leaves no room for
the substitution of any other figures and §438 adoes not
authorize special allowance payments greater than the
formulas in that section (which would be the case if any
figure other than the applicable interest rate were used).

34 C 2 02(e FF ‘Progra e ions.

The issues you raised will be addressed in a future Dear
Colleague Letter.

Please contact me if I can be of further assistance.

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

Sincerely,

Robert W. Evans

Director

Division of Policy Development

Policy, Training, and Analysis Service

ELI-HC00000217
Case 1:07-cv-00960-CMH-JFA Document 333-22 Filed 06/18/10 Page 42 of 54 PagelD# 6524

Attachment 11

 

NELLIE
MAE

January 19, 1994

Ms. Pamela Moran

Acting Loan Branch Chief
U.S. Department of Education
7th and D Streets, SW
Washington, DC 20202

RE: Tax-exempt Issues
Dear Pam: oe

Thanks for taking the time last week to walk through the 799 reporting
issues for loans funded with tax-exempt financings. As we discussed, I have
outlined our concerns below.

o Interpretation of Budget Bill Changes

As noted in our letters to Bob Evans dated December 17, 1993 (RE: 799
Codes) and December 20, 1993 (RE: Budget Bill Dear Colleague), Nellie Mae
believes the changes made under the Student Loan Reform Act eliminate the
"floor" and authorize payment of full special allowance. The SAP rate paid
on loans: funded with the proceeds of tax-exempt debt originally issued on
or after October 1, 1993 is based on the applicable formula in effect at
at the time the loan was originated. We disagree with your preliminary
interpretation that all loans are paid SAP based on T~-Bill plus a factor
of 3.10 percent. The date of origination and the applicable formula of
T-Bill + 3.50 or 3.25 continue to apply.

o 799 Reporting Codes

Based on our interpretation of the above changes, several 799 codes need
to be provided to track such loans. We have suggested that such loans be
reported using the same codes used for loans funded with taxable debt. As
you know, the DCL recently published by ED only provides for a single code
of XF for loans funded with tax-exempt debt originally issued on or after
October 1, 1993. ,

 

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Case 1:07-cv-00960-CMH-JFA Document 333-22 Filed 06/18/10 Page 43 of 54 PagelD# 6525

\ / Ms. Pamela Moran January 19, 1994
+  ° Page two

When I suggested the use of the taxable codes, as the special allowance
methodology is the same for these loans, I was advised that ED wanted to
track loane financed with the proceeds of tax-exempt debt for other
purposes. Given the changes made in the December 1992 final regulations in
section 682.302(e) which provide for 1/2 SAP and the floor on loans ever
pledged to a tax-exempt debt which remains outatanding (regardless of the
current funding source), ED cannot then rely on the 799 to track loans
funded with tax-exempt debt. The changes made to section 682.302(e) will
require Nellie Mae to report loans previously pledged to a tax-exempt
financing, but currently pledged to ataxable financing, using the
tax-exempt reporting codes distorting the accuracy of this report for any
data collection purpose other than SAP payment.

The change made in the regulations eliminate the possibility for ED to use
the 799 to track and report loans funded with the proceeds of tax-exempt
financings. As an alternative, we suggest ED use the data provided by
authorities in the annual audit required pursuant to section 682.830. We
i further suggest the 799 instructions included in the recent DCL be amended
; and that loans funded with tax-exempt debt originally issued on or after
October 1, 1993 be reported using the same codes as provided for loans
funded with taxable financings. This reporting methodology will reduce
unnecessary complexity for ED and for the nonprofit participants.

This is a complex issue and I hope I have clearly conveyed the problems
arising from the recently published ED 799 Dear Colleague. If you think it
would be helpful, I am available to discuss these issues with you, Charlotte
Turner, and Ralph Madden via conference call. Please call me on (617) 849-1325
with any questions or comments.

Sincerely,

Shula kya
Sheila M. Ryan
Director, Planning and Development

SMR /dms

 

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UNITED STATES DEPARTMENT OF EDUCATION — Attachment 1?

OFFICE OF POSTSECONDARY EDUCATION

March 1996

96-L-186
96-G-287

SUBJECT: Clarification and interpretative guidance on certain provisions in the Federal
Family Education Loan (FFEL) Program regulations published on December 18, 1992.

REFERENCE: December 18, 1992 Federal Family Education Loan Program regulations
and May 17, 1994 technical corrections to those regulations.

Dear Colleague:

On July 23, 1992, the Higher Education Amendments of 1992 (Amendments) to the Higher
Education Act were enacted. Later that year, on December 18, 1992, the U.S. Department
of Education (ED) published final regulations for the Federal Family Education Loan (FFEL)
Program that incorporated changes made by the following statutes:

@ The Consolidated Omnibus Budget Reconciliation Act of 1985

© The Higher Education Amendments of 1986

© The Higher Education Technical Amendments Act of 1987

@ Public Law 100-297

® Public Law 100-369

© The Omnibus Budget Reconciliation Act of 1989

© The Omnibus Budget Reconciliation Act of 1990

® The National and Community Service Act of 1990

© The Higher Education Technical Amendments of 1991

© The Emergency Unemployment Compensation Act of 1991

@ Selected self-implementing provisions of the Higher Education Amendments of
1992 ,

Because of the statutory requirement that the majority of the FFEL provisions of the 1992
Amendments be regulated under negotiated rulemaking and the timing involved in publishing
the December 18, 1992 regulations, not all the provisions of the 1992 Amendments could be
incorporated into the regulatory package. In cases where provisions of the Amendments
conflicted with te December 18, 1992 regulations, the Amendments superseded the
regulations.

The regulations published on December 18, 1992 generally were to take effect on February
1, 1993. However, in response to inquires from the student aid community, on January 29,

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Our mission ts to ensure equal access to education and to promote educational excellence throughout the Nation.

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Case 1:07-cv-00960-CMH-JFA Document 333-22 Filed 06/18/10 Page 45 of 54 PagelD# 6527

| Page 2 - Outstanding FFEL Pro regulations issue.

1993, Secretary Richard W. Riley issued a letter advising FFEL Program participants that he

had decided to delay full enforcement of certain provisions of the December 18, 1992

regulations. Doing so, the Secretary explained, would allow ED to issue guidance ©
identifying sections of the December 18, 1992 regulations that had been superseded by the
Amendments and clarifying provisions of the regulations that reflected policy changes.

Secretary Riley also stated that FFEL Program participants were expected to make a

good-faith effort to begin implementing the December 18, 1992 regulations when they went

into effect on February 1, 1993, including implementing the provisions on which he was

delaying enforcement. The Secretary’s enforcement delay did not apply to the ’
self-implementing statutory requirements contained in the regulations or to regulatory

provisions that were unchanged from earlier FFEL regulations.

 

Since Secretary Riley’s letter in January 1993, ED has undertaken a number of initiatives to
address issues FFEL Program participants raised about the regulations. In March and April
1993, ED met with community representatives to identify and discuss the outstanding issues
that the representatives believed should be clarified.

Also since the January 1993 letter, the Secretary, following several negotiated rulemaking
sessions, has published a series of regulatory amendments. These incorporate Amendments
previously not reflected in the December 18, 1992 regulations, as well as changes enacted by
later legislation. These FFEL Program amendatory regulations were published in the
Federal Register on:

@ April 29, 1994
7 @ June 28, 1994 ©
@ June 29, 1994

@ November 25, 1994

@ November 29, 1994

@ November 30, 1994

@ December 1, 1995

The Secretary’s delay of enforcement of certain parts of the December 18, 1992 regulations
did not change the effective date of these regulations or other regulations that affect the
FFEL program. On May 17, 1994, the Department also published technical corrections to

the December 18, 1992 regulations.

The purpose of this" Dear Colleague" letter is to provide guidance only on those regulatory
provisions of the December 18, 1992 final regulations that still require clarification and that
have not been superseded by later statutory or regulatory changes currently in effect. It does
not address issues pertaining to regulations published after the December 18, 1992
regulations. The letter is divided into two sections:

" Section I includes a series of questions and answers intended to clarify policy changes
within the December 18, 1992 final regulations.

 

7 Section I addresses the time frames for fully implementing and enforcing those @
provisions of the December 18, 1992 regulations that required guidance.

 

 

 

 

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Case 1:07-cv-00960-CMH-JFA Document 333-22 Filed 06/18/10 Page 46 of 54 PagelD# 6528

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Page 3 - Outstanding FFEL Program regulations issues

ED would like to recognize the support and cooperation of the FFEL program participants
who assisted in the development of this guidance.

If you have questions about this letter, please contact Ms. Pamela Moran (Loan Branch
Chief), Ms. Patricia Newcombe (FFEL Program Loans Branch Section Chief), or Ms. Patsy
Beavan (Senior Program Specialist) at (202) 708-8242 or by fax at (202) 708-7196.

Sincerely,

~ . . b
Taney Y), Wah,
Elizabeth M. Hicks ~
Deputy Assistant Secretary
for Student Financial Assistance

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER ELI-HC00000222
 

Case 1:07-cv-00960-CMH-JFA Document 333-22 Filed 06/18/10 Page 47 of 54 PagelD# 6529

Page 14 - Outstanding FFEL Program regulations issues

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following its receipt of the returned claim, the lender must ceace billing for special ;
allowance on the 31st day. The lender may not resume billing for special allowance 4
unless the default is averted or the claim is rejected and subsequently cured.

Yes. (a)-(c) above accurately summarize the interaction of the special allowance
termination provisions of sections 682.302(d)(v) and (d)(vii).

Sections 682.302(d)(1)(vii) and 682.406(a)(6) provide for the termination of special
allowance and reinsurance interest in the case of a loan returned by the guarantor
to the lender solely for inadequate documentation. Are claims returned for other
reasons, such as mathematical errors on the claim request form, subject to this
same special allowance and reinsured interest termination provision?

No. Currently the regulations only address claims returned due to inadequate
documentation. The Secretary adopted a policy, as reflected in the regulations, that
would ensure that lenders file complete claim packages as early as possible, thus
supporting a streamlined claim review and claim payment process. Therefore, this
provision is only applicable in cases where the lender did not provide complete
documentation; it does not apply for cases where erroneous information was provided.

Section 682.302(e), which pertains to eligibility for special allowance for loans made
or acquired with obligations on which the interest is exempt from taxation (tax-
exempt obligations), has been revised in the 1992 regulations. What is the
significance of the change and what is the effective date of the change?

Section 682.302(e) was revised to reflect a shift in the Department’s policy regarding
loans made or acquired with the proceeds of tax-exempt obligations. The regulations in
effect prior to December 18, 1992 stated that a lender was paid special allowance on a
loan made or acquired with the proceeds of a tax-exempt obligation based on the rules
applicable to loans financed with taxable obligations after the loan was refinanced with
the proceeds of a taxable obligation and the prior tax-exempt obligation was retired or
defeased. The regulations were silent as to the method of calculating the applicable
special allowance rate for a loan made or acquired with a tax-exempt obligation that was
subsequently refinanced with the proceeds of a taxable obligation, but the prior tax-
exempt obligation remained outstanding. The Department’s prior guidance stated that
the current funding source defined the applicable special allowance provisions -- if a
loan was financed with the proceeds of a tax-exempt obligation, the tax-exempt special
allowance rule applied. If the loan was financed with the proceeds of a taxable
obligation, the taxable special allowance rules applied.

In the December 18, 1992 regulations, the Department changed this policy. Under the
regulations, if a loan made or acquired with the proceeds of a tax-exempt obligation is
refinanced with the proceeds of a taxable obligation, thé loan remains subject to the tax-
exempt special allowance provisions if the authority retains legal interest in the loan. If,
however, the original tax-exempt obligation is retired or defeased, special allowance is
paid based on the rules applicable to the new funding source (taxable or tax-exempt).

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Page 15 - Outstanding FFEL Program regulations issues

This change is effective as of the effective date of the 1992 regulations, February |,
g 1993, and applies to all loans transferred from a tax-exempt obligation to a taxable
obligation on or after that date. ,

Adjustments to ED 799 billings and current billings for any loans covered by this policy
should be made using the applicable tax-exempt special allowance codes for the periods
that the holder retains legal interest in the loan and the original tax-exempt obligation
has not been retired or defeased.

82.401

31. Section 682.202(c)(5) provides for the refund of the origination fee whenever: i) the
school returns the full amount of the disbursement; ii) the loan disbursement is —
repaid within 120 days of disbursement; or iii) the loan disbursement is not
delivered within 120 days of disbursement. Section 682.401(b)(10) provides for the
refund of the insurance premium whenever: i) the loan disbursement is repaid
within 120 days; or ii) the loan disbursement is not delivered within 120 days.
Therefore, if a school returns the disbursement amount after the 120th day, the
borrower receives a refund of the origination fee but not the insurance premium.
May a guaranty agency refund the insurance premium when a school returns the
loan proceeds after the 120th day of disbursement?

6 Yes, the guaranty agency may, but is not required, to refund the insurance premium

, under these circumstances. However, please note that section 682.401(b)(10)(vi) of the
final regulations published on December 1, 1995, (effective J uly 1, 1996) will require
the lender to refund the insurance premium, by credit to the borrower’s account,
whenever a school makes a refund to the lender regardless of whether the refund is the
full amount of the loan or a portion of it.

32. Section 682.401(b)(17) states that a guaranty agency shall allow a loan to be
assigned to an educational institution (whether or not it is an eligible lender) in
connection with the institution’s repayment on a loan that was ineligible. Must the
educational institution enforce the debt in accordance with all FFEL program rules
(e.g., deferment, forbearance)?

The institution may-only collect on the loan based on the terms of its legal contract with
the borrower--in other words, based on the terms of the promissory note. Therefore,
the institution must observe the terms and provide any benefits for which a borrower is
eligible based on the terms of the promissory note (e.g., deferments, forbearance).
However, since for FFEL program purposes, an ineligible loan has lost its federal
reinsurance, the school may not bill the Secretary for any interest or special allowance
on the loan nor submit the loan to a guarantor or the Secretary for claim payment.
However, the loan remains a debt owed by the borrower and both parties can be
required to comply with its terms.

: o §682.402

33. What is the lender’s responsibility if a co-maker or an endorser files for
bankruptcy?

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Case 1:07-cv-00960-CMH-JFA Document 333-22 Filed 06/18/10 Page 49 of 54 PagelD# 6531

2003 - 2004 Interest Rates Table A
(July 1, 2003 - June 30, 2004)
Stafford Loans

T-Bill Rate = 1.12%

   
 

 

 

 

 

 

 

1 A variable rate loan first disbursed on/after 07/01/98. Borrower in status other

 

 

 

 

tha ieochool, grace or deferment 2.30% |'3.42% 1 8.25% | 3.42%] 4.06%
2 eect pace or deferment sat on/ater O7/O1/98. Borrower in en in- 1.70% | 2.82% | 8.25% | 2.82%] 3.46%
3 A varia ea ck grace, or deferment, O7/01/98. 3.10% | 4.22% | 8.25% | 4.22% | 4.86%
4 | A.vatiable rate loan first disburse Ae ata O7/01/98. 2.50% | 3.62% | 8.25%] 3.62% | 4.26%
5 A varia ae oe ee is begs her O/0194, before 07/01/95. 3.10% | 4.22% | 8.25% | 4.22% | 4.86%

 

A variable rate loan first disbursed on/after 12/20/93 but before 07/01/94.
Borrower had no outstanding balance on any Stafford loan when Promissory

© | Note was signed, but had an outstanding balance on an SLS, PLUS or Consol. 310% | 4.22% | 9.00% | 4.22% 4.86%

loan.

Originally an 8% fixed rate loan made on/after 10/01/92 but before 12/20/93
now entitled to a variable interest rate. Borrower had no outstanding balance
7 on any Stafford loan when Promissory Note was signed, but had an 3.10% | 4.22% | 8.00% 4.22% 4.86%
outstanding balance on an SLS, PLUS or Consolidation loan disbursed before
10/01/92,

A variable rate loan first disbursed on/after 10/01/92 but before 07/01/94. :
8 Borrower had no outstanding balance on any FFELP loan when Promissory 3.10% | 4.22% | 9.00% 4.22% 4.86%
Note was signed,

‘An 8-10% loan made on/after 07/23/92 to a borrower with an outstanding
9 FFELP debt on the date the borrower signed the Promissory Note. Now in 3.10% | 4.22% | 10.00% 4.22% 4.86%
or past the fifth year of repayment and entitled to a variable interest rate. :

An 8-10% loan made on/after 07/23/92 to a borrower with an outstanding

10 FFELP debt on the date the borrower signed the Promissory Note. Not yet
in the fifth year of repayment but eligible for a variable interest rate when the
tate is at 8%.”

An 8-10% loan made on/after 07/23/92 to a borrower with no outstanding
11 | FFELP debt on the date the borrower signed the Promissory Note. Now in 3.25% | 4.37% | 10,00% 4.37% 5.01%
or past the fifth year of repayment and entitled to a variable interest rate.

An 8-10% loan made on/after 07/23/92 to a borrower with no outstanding
12 | FFELP debt on the date the borrower signed the Promissory Note. Not yet NIA N/A NA 8.00% 8.00%
in the fifth year of repayment so not yet eligible fora variable interest rate.

Bp | 4“ 8-10% loan made before 07/23/92. Now in or past the fifth year of
repayment and entitled to a variable interest rate.

14 | An8-10% loan made before 07/23/92. Not yet in the fifth year of repayment

 

 

 

 

3.10% | 422% ] 8.00% 4.22% 4.86%

 

 

 

3.25% | 4.37% | 10.00% 4.37% 5.01%

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

so not yet eligible for a varial Je rate, NA NWA NWA 8.00% 8.00%
Originally a 9% fixed rate loan made on/after 07/23/92; now entitled to a

i$ variable i rate. 3.10% | 4.22% | 9.00% 4.22% 4.86%

16 Originally an 8% fixed rate loan made ow/afer 07/23/92; now entitled to a 3.10% | 4.22% | 8.00% | 4.22% | 4.86%
Originally a 7% fixed rate loan made on/after 07/23/92; now entitled to a

17 ‘able i : rate. 3.10% | 4.22% | 7.00% 4.22% 4.86%

18 A’ 9% fixed rate loan made before 07/23/92; not qualified for a variable interest NWA NA NA 9.00% 9.00%

19 An 8% fixed rate loan made before 07/23/92, not qualified for a variable NA NA NA 8.00% 8.00%
interest rate. :

20 Ame fixed rate loan made before 07/23/92; not qualified for a variable interest NA NA NA 7.00% 7.00%

)
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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER ELI-HC00000225
Case 1:07-cv-00960-CMH-JFA Document 333-22 Filed 06/18/10 Page 50 of 54 PagelD# 6532

2003 - 2004 Interest Rates
(July 1, 2003 - June 30, 2004)

 

 

 

     
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     
 
 

 

 

 

 

 

 

 

 

   

 

 

PLUS Loans
No : . 91-day 2003- | 2002-
Qualifying.Conditions . T-Bill = | Cap 2004 2003
Cte - (1,12%).+
1 | A variable rate loan first disbursed on/after 07/01/98 3.10% 4.22% | 9.00% | 4.22% 4.86%
N MSE * a |-One-Year | "1 2903- | 2002-
io patididane. | Gonstant} _ . - | 2004 2003
Conditions | Maturity} “| SP) Rate | Rate
2_| A variable rate loan first disbursed on/after 07/01/94, 3.10% 4.05% | 9.00% | 4.05% 5.23%
3 | A variable rate loan first disbursed on/after 10/01/92 but before 07/01/94. 3.10% 4.05% | 10.00% | 4.05% 5.23%
A variable rate loan first disbursed on/after 07/01/87 but before 10/01/92 as 5.38%
4 | Well asa fixed rate PLUS loan refinanced to a variable rate. 3.25% — | 4.20% | 12.00% | 4.20%
5 | A fixed rate loan first disbursed on/after 11/01/82 but before 07/01/87. NA NA NA 12.00% 12.00%
6 | A fixed rate loan first disbursed on/after 10/01/81 but before 11/01/82. N/A N/A NIA | 14.00% 14.00%
7 | A fixed rate loan first disbursed on/after 01/01/81 but before 10/01/81. NYA N/A NIA 9.00% 9.00%
SLS Loans
(SLS loans were known as ALAS loans before 10/17/86)
One-Year Constant Maturity Rate = 0.95%
oe LO - | 2003- | 2002-
No — |. 2004 2003
. Cap | Rate | . Rate
| | A variable rate loan first disbursed on/after 10/01/92. 3.10% 4.05% | 11.00% | 4.05% 5.23%
A variable rate loan first disbursed on/after 07/01/87 but before 10/01/92 as
2 | well a8.a fixed rate SLS foan refinanced to a variable rate. 3.25% 4.20% | 12.00% | 4.20% 5.38%
A fixed rate loan first disbursed on/after 11/01/82 but before 07/01/87. NA NIA NA 12.00% 12.00%
4 | A fixed rate loan first disbursed on/after 10/01/81 but before 11/01/82. NA N/A NA 14.00% 14.00%
A fixed rate loan first disbursed on/after 01/01/81 but before 10/01/81. NA NIA NA 9.00% 9.00%
Consolidation Loans
T-Bill Rate = 1.12%
2002-
No. 2003
Rate

 

A weighted average rate loan rounded to the nearest 1/8th percent, based on . i.
1 applications received by the lender on or after 10/01/98. This calculation excludes NA N/A 8.25% Weighted | Weighted
the HEAL portion of the loan. See Number 3 below for the HEAL portion of the . Average Average
joan. .

 

A variable rate loan based on application received on or after 11/13/97 but before o 9 7
2110/01/98. See Number 3 below for the HEAL portion of the loan. 310% | 4.22% | 825% | 4.22% | 4.86%
For categories 1 and 2 above, for the portion of the loan tepresented by a HEAL
3 | Loan the interest rate is the sum of the avernge of the 91-day T-Bill rates auctioned) § 3.99% | 4.96% | N/A 4.06% 4.75%

forthe spuaries ending Fune.30, plus 3.0 percent with no cap.
(April-June 2003 T-Bill Rate = 1.06%) “

 

 

 

 

 

 

 

 

 

 

 

 

‘ A wei; average rate Ioan rounded up to the nearest whole percent, for all

: 4 | Consolidation loans made on or after July 1, 1994, from applications received by NIA NIA N/A N/A N/A
i the lender before November 13, 1997. ;

A weighted average rate loan with a 9% minimum rate, for all Consolidation loans

5 made before July 1, 1994. NA N/A NA N/A N/A
}

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Case 1:07-cv-00960-CMH-JFA Document 333-22 Filed 06/18/10 Page 51 of 54 PagelD# 6533

 

 

 

 

 

 

 

 

 

 

 

 

 

Interest Rate Chart
Stafford Loans
No]. i . Cap

1 A variable rate loan first disbursed on/after 07/01/98. Borrower in status other than in-school, grace or 2.30% 825%
deferment.

2 A variable rate loan first disbursed on/after 07/01/98. Borrower in an in-school, grace or deferment 1.70% 8.25%

3 A variable rate loan first disbursed on/after 07/01/95 but before 07/01/98. Borrower in status other 3.10% 8.25%
than in-school, grace, or deferment. . “

4 A variable rate loan first disbursed on/after 07/01/95 but before 07/01/98. Borrower in an in-school, 2.50% 8.25%
gtace, or deferment status. . .

5 A variable rate loan first disbursed on/after 07/01/94 but before 07/01/95. Loan period includes 3.10% 8.25%
07/01/94 or begins after 07/01/94. . ,
A variable rate loan first disbursed on/after 12/20/93 but before 07/01/94. Borrower had no

6 outstanding balance on any Stafford loan when Promissory Note was signed, but had an outstanding 3.10% 9.00%
balance on an SLS, PLUS or Consol. loan.
Originally an 8% fixed rate loan made on/after 10/01/92 but before 12/20/93 now entitled to a variable

7 interest rate. Borrower had no outstanding balance on any Stafford loan when Promissory Note was 3.10% 8.00%
signed, but had an outstanding balance on an SLS, PLUS or Consolidation loan disbursed before . ,
10/01/92.

8 A variable rate loan first disbursed on/after 10/01/92 but before 07/01/94. Borrower had no 3.10% 9.00%
outstanding balance on any FFELP loan when Promissory Note was signed. , ,
An 8-10% loan made on/after 07/23/92 to a borrower with an outstanding FFELP debt on the date the

9 borrower signed the Promissory Note. Now in or past the fifth year of repayment and entitled to a 3.10% 10.00%

variable interest rate.

 

An 8-10% loan made on/after 07/23/92 to a borrower with an outstanding FFELP debt on the date the
10 borrower signed the Promissory Note. Not yet in the fifth year of repayment but eligible for a variable 3.10% 8.00%
interest rate when the rate is at 8%. :

 

An 8-10% loan made on/after 07/23/92 to a borrower with no outstanding FFELP debt on the date the
i borrower signed the Promissory Note. Now in or past the fifth year of repayment and entitled to a 3.25% 10.00%
variable interest rate.

 

An 8-10% loan made on/after 07/23/92 to a borrower with no outstanding FFELP debt on the date the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

12 borrower signed the Promissory Note. Not yet in the fifth year of repayment so not yet eligible fora pena pene
variable interest rate. ,
3 Ane eae joan made before 07/23/92. Now in or past the fifth year of repayment and entitled to a 4.25% 10.00%
: 14 An 8-10% loan made before 07/23/92. Not yet in the fifth year of repayment so not yet eligible fora Not Yet Not Yet
variable rate. Appl. Appl.
15 Originally a 9% fixed rate loan made on/after 07/23/92; now entitled to a variable interest rate. 3.10% 9.00%
16 Originally an 8% fixed rate loan made on/after 07/23/92; now entitled to a variable interest rate. 3.10% 8.00%
17 Originally a 7% fixed rate loan made on/after 07/23/92; now entitled to a variable interest rate, 3.10% 7.00%
18 | A9% fixed rate loan made before 07/23/92; not qualified for a variable interest rate. NIA NA
19 | An 8% fixed rate loan made before 07/23/92; not qualified for a variable interest rate. N/A NA
20 | A7% fixed rate loan made before 07/23/92; not qualified for a variable interest rate. - NA NA
)
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Interest Rate Charts
PLUS Loans
No. - ”” Qualifying Conditions eee | Sap
1 A variable rate loan first disbursed on/after 07/01/98. 9.00%
“No. Cap
2 A variable rate loan first disbursed on/after 07/01/94. 9.00%
3 A variable rate loan first disbursed or/after 10/01/92 but before 07/01/94. 10.00%
4 A variable rate loan first disbursed on/after 07/01/87 but before 10/01/92 as well as a fixed rate PLUS 3.25% 12.00%
loan refinanced to a variable rate. “ee “ue
3 A fixed rate loan first disbursed on/after 11/01/82 but before 07/01/87. NIA N/A
6 A fixed rate loan first disbursed or/after 10/01/81 but before 11/01/82. NA N/A
7 A fixed rate loan first disbursed on/after 01/01/81 but before 10/01/81. N/A N/A
SLS Loans
(SLS loans were known as ALAS loans before 10/17/86
No. |) Cap
1 A variable rate loan first disbursed on/after 10/01/92. 14.00%
2 A variable rate loan first disbursed on/after 07/01/87 but before 10/01/92 as well as a fixed rate SLS 3.25% 12.00%
loan refinanced to a variable rate. . .
3 A fixed rate loan first disbursed on/after 11/01/82 but before 07/01/87. NA N/A
4 A fixed rate loan first disbursed on/after 10/01/81 but before 11/01/82. NIA NIA
5 A fixed rate loan first disbursed on/after 01/01/81 but before 10/01/81. NA N/A
Consolidation Loans
No. |. Cap
A weighted average rate loan rounded to the nearest 1/8th percent, based on applications received by
1 the lender on or after 10/01/98. This calculation excludes the HEAL portion of the loan. See Number 3 NA 8.25%
below for the HEAL portion of the loan. ao“
2 A variable rate loan based on application received on or after 11/13/97 but before 10/01/98. See 3.10% 8.25%
Number 3 below for the HEAL portion of the loan. me "
For categories 1 and 2 above, for the portion of the loan represented by a HEAL Loan the interest ,
3 rate is the sum of the average of the 91-day T-Bill rates auctioned for the quarter ending June 30, plus 3.00% N/A
3.0 percent with no cap.
4 A weighted average rate loan rounded up to the nearest whole percent, for all Consolidation loans NA NA
made on or after July 1, 1994, from applications received by the lender before November 13, 1997.
: } 5 _A weighted average rate loan with a 9% minimum rate, for all Consolidation loans made before July 1, NIA NIA
“ 1994, .
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ELI-HC00000228

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Interest Rate Charts
PLUS Loans
No. | ‘Cap
! A variable rate loan first disbursed on/after 07/01/98. 9.00%
No. |. Cap
2 A variable rate loan first disbursed on/after 07/01/94. 9.00%
3 A variable rate loan first disbursed on/after 10/01/92 but before 07/01/94, 10.00%
4 A variable rate loan first disbursed on/after 07/01/87 but before 10/01/92 as well as a fixed rate PLUS 5.25% 12.00%
loan refinanced to a variable rate. ae we
5 A fixed rate loan first disbursed on/after 11/01/82 but before 07/01/87. NA NIA
6 A fixed rate loan first disbursed on/after 10/01/81 but before 11/01/82. N/A N/A
7 A fixed rate loan first disbursed on/after 01/01/81 but before 10/01/81. N/A N/A
SLS Loans
(SLS loans were known as ALAS loans before 10/1 7186)
Nosy ‘Cap
1 A variable rate loan first disbursed on/after 10/01/92. 3.10% | 11.00%
A variable rate loan first disbursed on/after 07/01/87 but before 10/01/92 as well as a fixed rate SLS
2 | joan refinanced to a variable rate. 3.25% 12.00%
3 A fixed rate loan first disbursed on/after 11/01/82 but before 07/01/87, N/A N/A
4 A fixed rate loan first disbursed on/after 10/01/81 but before 11/01/82. N/A N/A
5 A fixed rate loan first disbursed on/after 01/01/81 but before L0/01/81. , NA NIA
Consolidation Loans
Nod |: Cap
A weighted average rate loan rounded to the nearest 1/8th percent, based on applications received by
1 the lender on or after 10/01/98. This calculation excludes the HEAL portion of the loan. See Number 3 NA 8.25%
below for the HEAL portion of the loan. ees
2 A variable rate loan based on application received on or after 11/13/97 but before 10/01/98. See 3.10% 8.25%
Number 3 below for the HEAL portion of the loan. ° od 8
For categories 1 and 2 above, for the portion of the loan represented by a HEAL Loan the interest
3 rate is the sum of the average of the 91-day T-Bill rates auctioned for the quarter ending June 30, plus 3.00% N/A
3.0 percent with no cap.
4 A weighted average rate loan rounded up to the nearest whole percent, for all Consolidation loans NA NA
made on or after July 1, 1994, from applications received by the lender before November 13, 1997.
1D 5 | Aweighted average rate loan with a 9% minimum rate forall Consolidation loans made before Fuly 1, | aya WA
1994, :
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Case 1:07-cv-00960-CMH-JFA Document 333-22 Filed 06/18/10 Page 54 of 54 PagelD# 6536

 

91 Day Bond . Table B
Equivalent Quarterly
Average T-Bill Rates *
Yield on
3.29%.
arcer SAP.
Ending Rate foan®
30-Jun-03 4,06 4,31
31-Mar-03 4.17 4.42
31-Dec-02 1.36 4.61
30-Sep-02 1.67 4.92
30-Jun-02 1.75 §.00
31-Mar-02 1.76 5.01
30-Dec-01 1.97 §.22
30-Sep-01 3.35 6.60
30-Jun-01 3.77 7.02
31-Mar-01 5.32 8.57
31-Dec-00 6.23 9.48
30-Sep-00 6.19 9.44
30-Jun-00 5.94 9.19
31-Mar-00 5.72 8.97
i 31-Dec-99 §.22 8.47
30-Sep-99 4.82 8.07
30-Jun-99 4.60 7.85 -
31-Mar-99 4.54 7.79
31-Dec-98 4.40 7.65
30-Sep-98 497 8.22
30-Jun-98 5.13 8.38
i 31-Mar-98 5.19 8.44
31-Dec-97 524 8.49
i 30-Sep-97 5.18 8.43
30-Jun-97 §.21 8.46
31-Mar-97 5.21 8.46
31-Dec-96 5.11 8.36
30-Sep-96 §.26 8.51
30-Jun-96 §.17 8.42
31-Mar-96 §.08 8.33
31-Dec-95 5.43 8.68
30-Sep-95 5.54 8.79
30-Jun-95 5.78 9.04
31-Mar-95 5.95 9.20
31-Dac-94 5.46 8.71
30-Sep-94 4.63 7.88
30-Jun-94 4.15 7.40
31-Mar-94 3.34 6.59
31-Dec-93 3.14 6.39
30-Sep-93 3.08 6.33
30-Jun-93 3.05 6.30
31-Mar-93 3.05 6.30
31-Dec-92 3.17 6.42
30-Sep-92 3.14 6.39
30-Jun-92 3.78 1.03
Average 4.23 7.48
* Source OGSLP.org

* Based on T Bill plus SAP spread only

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